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Transcript of Sameh Elrahimy,
    Corporate Designee
                         Date: July 6, 2023
           Case: Go Pro Construction, LLC -v- Ipasumi




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                                                                                                             Transcript of Sameh Elrahimy, Corporate Designee                                    1 (1 to 4)

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                                                                                                                         Conducted on July 6, 2023
                                                                                                                                   1                                                                          3

                                                                   1              IN THE UNITED STATES DISTRICT COURT                  1                         A P P E A R A N C E S
                                                                                      FOR THE DISTRICT OF COLUMBIA
                                                                   2                          Civil Action No. 1:22-cv-01643-RCL       2    ON BEHALF OF THE PLAINTIFF/COUNTER-DEFENDANT:
                                                                   3    GO PRO CONSTRUCTION, LLC,                    )                 3           RODERICK R. BARNES, ESQUIRE
                                                                   4            Plaintiff/Counter-Defendant,         )                 4           ROLLINS, SMALKIN, RICHARDS & MACKIE, L.L.C.
                                                                   5       v.                                        )                 5           300 East Lombard Street
                                                                   6    VALSTS NEKUSTAMIE IPASUMI,                   )                 6           Suite 900
                                                                   7            Defendant/Counter-Plaintiff.         )                 7           Baltimore, Maryland 21202
                                                                   8    _______________________________________)                       8           (410) 727-2443
                                                                   9                                                                   9
                                                                   10              Deposition of GO PRO CONSTRUCTION, LLC,             10
                                                                   11                  by and through SAMEH ELRAHIMY                   11 ON BEHALF OF THE DEFENDANT/COUNTER-PLAINTIFF:
                                                                   12                         Baltimore, Maryland                      12          ZACHARY S. GILREATH, ESQUIRE
                                                                   13                       Thursday, July 6, 2023                     13          BAKER, DONELSON, BEARMAN, CALDWELL & BERKOWITZ PC

                                                                   14                            9:57 a.m.                             14          100 Light Street

                                                                   15                                                                  15          Suite 1900

                                                                   16                                                                  16          Baltimore, Maryland 21202

                                                                   17                                                                  17          (410) 685-1120

                                                                   18                                                                  18

                                                                   19                                                                  19

                                                                   20 Job No.:     498513                                              20 ALSO PRESENT:

                                                                   21 Pages: 1 - 178                                                   21              Matty Megee, law student

                                                                   22 Transcribed by:       Jerome E. Harris                           22




                                                                                                                                   2                                                                          4

                                                                   1            Deposition of GO PRO CONSTRUCTION, LLC, by and         1                          C O N T E N T S
                                                                   2    through SAMEH ELRAHIMY, held at the offices of:                2    Examination of SAMEH ELRAHIMY                        PAGE
                                                                   3                                                                   3       By Mr. Gilreath                                    5
                                                                   4                 ROLLINS, SMALKIN, RICHARDS & MACKIE, L.L.C.       4
                                                                   5                 300 East Lombard Street                           5                       EXHIBITS (Retained.)
                                                                   6                 Suite 900                                         6    GO PRO'S
                                                                   7                 Baltimore, Maryland 21202                         7    Exhibit 1          Notice of Deposition               8
                                                                   8                 (410) 727-2443                                    8    Exhibit 2          Work Progress Report #3            19
                                                                   9                                                                   9    Exhibit 3          Letter of Invitation to Tender     39
                                                                   10                                                                  10 Exhibit 4            Proposal Bid                       41
                                                                   11                                                                  11 Exhibit 5            Complaint                          48
                                                                   12           Pursuant to agreement, before Bri Slack,               12 Exhibit 6            Email                              50
                                                                   13 Notary Public in and for the State of Maryland.                  13 Exhibit 7            Contract Latvian Project           52
                                                                   14                                                                  14 Exhibit 8            Plaintiff's Production             55
                                                                   15                                                                  15 Exhibit 9            Email Thread                       62
                                                                   16                                                                  16 Exhibit 10           Response Request for Production    66
                                                                   17                                                                  17 Exhibit 11           Work Schedule                      74
                                                                   18                                                                  18 Exhibit 12           Work Progress Report #1            83
                                                                   19                                                                  19 Exhibit 13           Corrected Invoice                  87
                                                                   20                                                                  20 Exhibit 14           Work Progress Report #2            89
                                                                   21                                                                  21 Exhibit 15           Work Progress Report #4            97
                                                                   22                                                                  22                     (Continued on next page.)




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                                                                                                                   Conducted on July 6, 2023
                                                                                                                            5                                                               7
                                                                   1    Exhibit 16   Invoice #2                       101       1     Q And under what circumstances were you deposed?
                                                                   2    Exhibit 17   Email November 2nd, 2021         105       2     A As a witness in another case.
                                                                   3    Exhibit 18   Handrail Drawing Document        108             Q What was the subject matter of that case?
                                                                                                                                3
                                                                   4    Exhibit 19   504 Architect Drawing            110
                                                                                                                                4     A Construction.
                                                                   5    Exhibit 20   Letter December 13th, 2021       115
                                                                                                                                5     Q Construction. And when you say witness, you
                                                                   6    Exhibit 21   Email to Marcis                  121
                                                                                                                                6 were not a party to the lawsuit?
                                                                   7    Exhibit 22   Emails Priscilla and Marcis      123
                                                                                                                                7     A No.
                                                                   8    Exhibit 23   Termination of Contract Letter   131
                                                                   9    Exhibit 24   Email May 25th, 2022             134
                                                                                                                                8     Q Before we get started, I just want to go over
                                                                   10 Exhibit 25     List of Materials                152       9 some ground rules. I'm sure that they were touched on
                                                                   11 Exhibit 26     Quotation                        154       10 in previous deposition. But we're here today, I can see
                                                                   12 Exhibit 27     Value of Work Completed          156       11 you, you can see me. For the purposes of the transcript
                                                                   13 Exhibit 28     Answer to Counterclaim           157       12 that's going to be put together, everything that is
                                                                   14 Exhibit 29     Answers to Interrogatories       158       13 going to be said needs to be said verbally. So try to
                                                                   15 Exhibit 30     Expert Report                    174       14 avoid head nods, yes or no, try to articulate your
                                                                   16
                                                                                                                                15 answers.
                                                                   17
                                                                                                                                16       Try to allow me to finish my question before
                                                                   18
                                                                                                                                17 you start answering. Try not speak over me. I'll try
                                                                   19
                                                                                                                                18 to do the same for you, let you complete your answer
                                                                   20
                                                                   21
                                                                                                                                19 before I move on to my next question.
                                                                   22                                                           20       If at any point in time you don't understand a
                                                                                                                                21 question   that I have asked, please let me know; I'll try
                                                                                                                                22 my best to rephrase it. But if you do answer a
                                                                                                                            6                                                               8
                                                                   1               P RO CEED I N GS                             1 question, it will be assumed that you understood the
                                                                   2 Whereupon,                                                 2 question.
                                                                   3                  SAMEH ELRAHIMY,                           3        Does that make sense?
                                                                   4  being first duly sworn or affirmed to testify to the            A Yes.
                                                                                                                                4
                                                                   5 truth, the whole truth, and nothing but the truth, was
                                                                                                                                5     Q Okay. At any point in time today you want to
                                                                   6 examined and testified as follows:
                                                                                                                                6 take a break, it's fine, just let me know, we can take a
                                                                   7         EXAMINATION BY COUNSEL FOR THE DEFENDANT/
                                                                   8 COUNTER-PLAINTIFF:
                                                                                                                                7 break. Bathroom, to get food, whatever. The only thing
                                                                   9 BY MR. GILREATH:                                           8 I'd ask if there's question pending, that you answer the
                                                                   10     Q Good morning. My name is Zach Gilreath, I am        9 question before we take any break. Okay?
                                                                   11 from the law firm of Baker, Donelson. I have Matty        10       I'm going to start with what has been premarked
                                                                   12 Megee, summer assist to my office, sitting here in on     11 as Go Pro number 1. This is a copy of the Amended
                                                                   13 the deposition. I'm counsel representing the              12 Notice of Rule 30(b)(6) Deposition.
                                                                   14 Defendant/Counter-Plaintiff in this suit, Valsts          13       (Go Pro Exhibit 1, Amended Notice, was marked
                                                                   15 Nekustamie Ipasumi. I may refer to him as VNI             14 for identification, and is retained by counsel.)
                                                                   16 throughout the deposition.                                15 Q Have you reviewed this document before your
                                                                   17        Before we start, can you please state your name
                                                                                                                                16 deposition today?
                                                                   18 for the record.
                                                                                                                                17 A Yes.
                                                                   19     A Sameh Elrahimy.
                                                                          Q And Mr. Elrahimy, have you ever been deposed
                                                                                                                                18 Q And you understand that you are here today to
                                                                   20
                                                                   21 before?                                                   19 provide testimony on behalf of Go Pro Construction, LLC?
                                                                   22     A Yes.                                                20 A Yes.
                                                                                                                                21 Q In addition to reviewing the Deposition Notice,
                                                                                                                                22 did you review any other documentation in preparation
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                         3 (9 to 12)

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                                                                                                              Conducted on July 6, 2023
                                                                                                                            9                                                         11
                                                                   1 for your deposition?                                        1      A Sorry?
                                                                   2     A Yes.                                                  2      Q What is your current place of employment?
                                                                   3     Q What did you review?                                  3      A It's Gaithersburg, Maryland.
                                                                   4     A The Contract.                                         4      Q And you're employed by Go Pro --
                                                                   5     Q The Contract. Any additional documentation?           5      A Yes.
                                                                   6     A Not that I recall.                                    6      Q -- Construction. What is your position with Go
                                                                   7     Q Did you have any conversations with anyone in         7 Pro?
                                                                   8 preparation for your deposition today?                      8      A I'm the owner.
                                                                   9        And when I say that, any conversations with Mr.      9      Q Has Go Pro ever been a plaintiff or a defendant
                                                                   10 Barnes, you can say you had a conversation with him, but   10 in a lawsuit prior to this matter?
                                                                   11 I do not want to know the substance of that                11 A Defendant, like being sued or suing --
                                                                   12 conversation.                                              12 Q Correct.
                                                                   13 A Today, no.                                               13 A -- suing someone?
                                                                   14 Q Just prior to your deposition in preparation             14 Q Either or.
                                                                   15 for today?                                                 15 A Yes.
                                                                   16 A Yes, with Mr. Barnes.                                    16 Q And in what capacity?
                                                                   17 Q Did you have any conversations with anyone else          17 A What do you mean?
                                                                   18 at Go Pro?                                                 18 Q So you said yes to you've been a plaintiff or a
                                                                   19 A No.                                                      19 defendant. Were you a plaintiff in a previous lawsuit
                                                                   20 Q Did you have any conversations with Raouf                20 other than this matter?
                                                                   21 Elrahimy?                                                  21 A Yes.
                                                                   22 A Yes.                                                     22 Q And what was the subject of that lawsuit?
                                                                                                                            10                                                        12
                                                                   1     Q In preparation for your deposition?                   1     A I don't recall that right now.
                                                                   2     A No.                                                   2     Q Okay. Has Go Pro ever been a defendant in a
                                                                   3     Q Did you have any conversations with Omar              3 lawsuit other than this -- in this matter?
                                                                   4 Elrahimy?                                                   4     A Yes.
                                                                   5     A Yes.                                                  5     Q Do you recall the subject matter of that case?
                                                                   6     Q Did you have any conversations with anyone else       6     A Not off the top of my head, no.
                                                                   7  at Optimum  Construction?                                  7     Q Do you recall when these matters took place?
                                                                   8     A No.                                                   8     A I'd say roughly six, seven years ago.
                                                                   9     Q Is there anything you wish you could have done        9     Q And were they construction-related lawsuits?
                                                                   10 more to prepare for your deposition today?                 10 A Yes.
                                                                   11 A Yeah, I'm not sure how to answer that question.          11 Q Did they have to do with payment issues?
                                                                   12 Q Let me circle back and finish.                           12 A No.
                                                                   13       And you do understand that your testimony is         13 Q Did they have to do with performance issues?
                                                                   14 under oath and may be used at trial in this matter?        14 A I don't recall.
                                                                   15 A Yes.                                                     15 Q And you previously stated that you've been
                                                                   16 Q Just some general background information. Can            16 deposed previously as a witness; is that correct?
                                                                   17 you please provide your residential address?               17 A Yes.
                                                                   18 A 19309 Golden Meadow Drive, Germantown, Maryland          18 Q Were you deposed in either of the previous
                                                                   19 20876.                                                     19 lawsuits involving Go Pro?
                                                                   20 Q What is your date of birth?                              20 A No.
                                                                   21 A And September 25th, 1986.                                21 Q In the matter in which you were deposed as a
                                                                   22 Q And what your current place of employment?               22 witness, did you -- do you recall who you test -- what
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                                                                                                            Conducted on July 6, 2023
                                                                                                                       13                                                            15
                                                                   1 the case involved other than just general construction,   1     Q As the owner, do you oversee staffing
                                                                   2 do you recall the name of the parties?                    2 decisions?
                                                                   3     A Can you repeat the question.                        3     A Yes.
                                                                   4     Q In that matter that you were deposed as a           4     Q Do you oversee accounting or bookkeeping?
                                                                   5 witness, can you recall the parties involved in that      5     A Yes.
                                                                   6 lawsuit?                                                  6     Q Do you oversee contract negotiation?
                                                                   7     A Not off the top of my head.                         7     A Yes.
                                                                   8     Q Do you recall when that case took place?            8     Q Do you oversee contract execution?
                                                                   9     A About a year ago.                                   9     A Yes.
                                                                   10 Q And do you recall what jurisdiction it was at;         10 Q Does your -- in your role as owner, do you
                                                                   11 what court?                                              11 oversee project management responsibilities when it
                                                                   12 A The deposition was in Rockville, Maryland.             12 comes to construction-related activities?
                                                                   13 Q Do you know if the case was in D.C. or in              13 A Yes.
                                                                   14 Maryland state court?                                    14 Q How many employees does Go Pro have currently?
                                                                   15 A I don't recall that.                                   15 A Between 20 and 30.
                                                                   16 Q Is there any reason your memory would be               16 Q And is that similar to the number of employees
                                                                   17 impaired today, albeit medications or alcohol in the     17 Go Pro had at the time of the Latvian Embassy project?
                                                                   18 past 24 hours?                                           18 A Probably, yes.
                                                                   19 A No.                                                    19 Q And of those 20 to 30 employees that Go Pro
                                                                   20 Q You previously stated you are the owner of Go          20 has, how many is salaried versus hourly employees?
                                                                   21 Pro Construction, LLC; is that correct?                  21 A I don't have that information off the top of my
                                                                   22 A Yes.                                                   22 head.
                                                                                                                       14                                                            16
                                                                   1      Q When was Go Pro Construction, LLC formed?        1     Q Are there some employees that are hourly?
                                                                   2      A I don't remember the date off the top of my      2     A Yes.
                                                                   3 head.                                                   3     Q What type of employees are particularly hourly?
                                                                   4      Q Okay. Do you have an estimated timeline of how 4       A Office.
                                                                   5 long Go Pro has been in existence?                      5     Q Office. And then, salaried positions would
                                                                   6      A Seven to eight years.                            6 include?
                                                                   7      Q Seven to eight years. Okay.                      7     A Also office.
                                                                   8          What is the nature of Go Pro's business?       8     Q Okay. Does Go Pro employ any laborers to
                                                                   9      A Construction.                                    9 complete construction-related activities on projects?
                                                                   10     Q When you say, Construction, is that in the role  10 A Yes.
                                                                   11 of contractor or subcontractor or it varies?           11 Q And how many would you estimate Go Pro employs?
                                                                   12     A General contractor.                              12 A In the 20 to 30 counted includes both office
                                                                   13     Q And in what states or districts does Go Pro do   13 and combination of the two.
                                                                   14 business?                                              14 Q Well, would you say you have 10 laborers and 20
                                                                   15     A Maryland, Virginia, Washington, D.C.             15 office staff, 20 laborers, 10 office staff?
                                                                   16     Q And is Go Pro licensed as a general contractor   16 A 20 laborer, 10 office.
                                                                   17 in all three of those --                               17 Q And are the laborers hourly --
                                                                   18     A Yes.                                             18 A Five office -- five office, maybe 25 laborers.
                                                                   19     Q -- districts?                                    19 Somewhere around there.
                                                                   20         As owner   of Go Pro, can you walk  me through 20 Q Of the laborers, are they hourly, salaried, or
                                                                   21 your day-to-day activities and your duties as owner?   21 does it vary?
                                                                   22     A Can you be more specific?                        22 A It varies.
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                                                                                                            Conducted on July 6, 2023
                                                                                                                         17                                                            19
                                                                   1     Q Do the laborers maintain -- do laborers              1 produced in this case, Optimum Construction was
                                                                   2 maintain time in any way?                                  2 identified as being retained by Go Pro to serve as a
                                                                   3     A Sorry?                                               3 project management company; is that correct?
                                                                   4     Q Do the laborers when working on a                    4     A Can you show me that document?
                                                                   5 construction-related activity, such as the Latvian         5     Q Absolutely.
                                                                   6 Embassy project, do they monitor -- maintain their time    6        (Pause.)
                                                                   7 in any way? Do they keep timecards to let you know when    7     Q Let me step back further in the documents.
                                                                   8 they were onsite when they were working on a certain       8         Do you know an individual by the name of
                                                                   9 project?                                                   9 Jason Kirk?
                                                                   10 A Yes.                                                    10 A Yes.
                                                                   11 Q And how is that time maintained?                        11 Q Is Jason Kirk employed by Optimum?
                                                                   12 A Through according to the office.                        12 A I'm not sure.
                                                                   13 Q When you say, According to the office, is there         13 Q Was Jason Kirk employed by Optimum at the time
                                                                   14 an online site that you use, a service?                   14 of the Latvian Embassy project?
                                                                   15 A It would depend on the crew we're using on              15 A I believe so, yes.
                                                                   16 site.                                                     16 Q Has Jason Kirk ever been employed by Go Pro?
                                                                   17 Q For the Latvian project, how was time                   17 A No.
                                                                   18 maintained?                                               18 Q I'm going to show you -- I'm going to show you
                                                                   19 A I don't recall.                                         19 what has been marked as Go Pro number 2. This is a copy
                                                                   20 Q Does Go Pro, prior to the Latvian Embassy               20 of the Work Progress Report Number 3.
                                                                   21 project, have other experience with embassy, embassy      21       (Go Pro Exhibit 2, Work Progress Report Number
                                                                   22 construction projects?                                    22 3, was marked for identification, and is retained by
                                                                                                                         18                                                            20
                                                                   1      A Yes.                                                1 counsel.)
                                                                   2      Q What previous experience does Go Pro have?          2           Do you recognize this document?
                                                                   3      A Can you be more specific.                           3      A Yes.
                                                                   4      Q What other countries' embassies has Go Pro          4      Q Turning your attention to number 14 on the
                                                                   5 worked said for prior to the Latvian?                      5 second page, it states, As per the Embassy's request for
                                                                   6      A Many countries.                                     6 construction meeting via video conference, please be
                                                                   7      Q Can you name them?                                  7 advised that your project manager, Mr. Jason Kirk, and
                                                                   8      A Spain.                                              8 the site supervisor, Mr. John Grindes, will --
                                                                   9      Q Is Spain the only one you can recall right now?     9      A Brian.
                                                                   10     A Yes.                                                10     Q -- be attending -- Brian Grindes, will be
                                                                   11     Q What is Go Pro's relationship with Optimum          11 attending the biweekly video meeting.
                                                                   12 Construction?                                             12        You stated that Jason Kirk was not an employee
                                                                   13     A So the owner of Optimum is my brother.              13 of Go Pro, correct?
                                                                   14     Q And you're testifying on behalf of Go Pro, so       14     A Correct.
                                                                   15 if you don't know this answer, let me know. But do you    15     Q He's being identified as quote, unquote, Our
                                                                   16 know the nature of Optimum Construction's business.       16 project manager, Mr. Jason Kirk.
                                                                   17     A I don't.                                            17     A Okay.
                                                                   18     Q It's my understanding that Optimum served as a      18     Q So if he wasn't an employee of Go Pro, was he
                                                                   19 project management service as it relates to the Latvian   19 -- how was he, Our project manager on the site? Was he
                                                                   20 Embassy project; is that correct?                         20 retained as a subcontractor to Optimum?
                                                                   21     A Is -- can you repeat that question.                 21     A No, he works for Optimum.
                                                                   22     Q In some of the documentation that's been            22     Q Okay. And to -- and part of his services were
                                                                                                                PLANET DEPOS
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                                                                                                            Conducted on July 6, 2023
                                                                                                                       21                                                          23
                                                                   1 serving as a project manager for the Latvian Embassy -- 1      Q Has it changed over the last seven to eight
                                                                   2      A Sure.                                            2 years of Go Pro doing business?
                                                                   3      Q -- project?                                      3      A I don't recall.
                                                                   4      A Yes.                                             4      Q Do you have access to the banking records that
                                                                   5      Q In -- did Go Pro enter a contract with Optimum 5 would indicate whether or not a payment was issued to
                                                                   6 Construction as it related to the Latvian Embassy       6 Optimum Construction?
                                                                   7 project?                                                7      A Do I have access to my bank account? If I --
                                                                   8      A No.                                              8      Q Yeah.
                                                                   9      Q Was there ever an exchange of payment between 9         A -- if I review, I can -- if I review the
                                                                   10 Go Pro and Optimum related to --                       10 record, I can find out.
                                                                   11 A I don't recall.                                      11     Q In reviewing the discovery requests in this
                                                                   12 Q Did Optimum Construction provide laborers for 12 case, did you ever review your banking records to
                                                                   13 the Latvian Embassy project?                           13 determine whether or not any payments were issued to
                                                                   14 A I don't recall.                                      14 Optimum Construction as it relates to --
                                                                   15 Q Do you recall if there were any laborers on the 15 A I did not.
                                                                   16 project that were not employees of Go Pro?             16     Q What is Go Pro's relationship with Raouf
                                                                   17 A I don't recall.                                      17 Elrahimy?
                                                                   18 Q So Go Pro never paid Optimum for any services 18 A He's my father.
                                                                   19 provided as it relates to the Latvian --               19     Q Last week, we conducted a deposition of
                                                                   20 A No, I said I don't recall. I didn't say we           20 Priscilla Winters, and during the course of her
                                                                   21 didn't.                                                21 deposition, she stated that Mr. Raouf Elrahimy assisted
                                                                   22 Q How does Go Pro typically make payments to 22 in a consultant role as it related to preparing the bid
                                                                                                                       22                                                          24
                                                                   1 subcontractors on construction-related projects?         1 for the Latvian Embassy project. Is that correct?
                                                                   2      A It varies. It depends.                            2         MR. BARNES: Is it correct that she stated that?
                                                                   3      Q Do you sometimes write checks?                    3      Q Is it correct that Mr. Raouf Elrahimy assisted
                                                                   4      A Sure.                                             4 Go Pro as a consultant in preparing --
                                                                   5      Q Sometimes wire transfers?                         5      A Is that based on what Priscilla said or are you
                                                                   6      A Sure.                                             6 asking me -- I'm not sure if I understand.
                                                                   7      Q Does Go Pro maintain a bank account to issue      7      Q Testifying on behalf of Go Pro, did Mr. Raouf
                                                                   8 payments to subcontractors?                              8 Elrahimy assist Go Pro in preparing the proposal for the
                                                                   9      A Can you elaborate on that question. I'm not       9 Latvian Embassy project?
                                                                   10 sure.                                                   10     A Yes.
                                                                   11     Q When Go Pro writes a check, that check            11     Q And how did he assist in preparing the
                                                                   12 typically draws from a checking account, savings        12 proposal?
                                                                   13 another, or another type of account maintained with a   13     A I don't recall.
                                                                   14 banking institution, correct?                           14     Q Did he review the bid documents that were
                                                                   15     A Of course.                                        15 provided by the Embassy?
                                                                   16     Q Go Pro had a bank account in its name for         16     A Yes.
                                                                   17 purposes of making payments to subcontractors in the    17     Q Did he prepare any cost estimations as it
                                                                   18 past?                                                   18 related to the project?
                                                                   19     A Specific bank account?                            19     A I'm -- actually, I'm not sure. I can't speak
                                                                   20     Q A bank account?                                   20 for him.
                                                                   21     A We have a bank account. Go Pro does have a        21     Q Have you had any conversations with your father
                                                                   22 bank account.                                           22 regarding what he did or did not do in assisting with
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                                                                                                            Conducted on July 6, 2023
                                                                                                                        25                                                            27
                                                                   1 preparing the bid proposal?                               1 make a profit?
                                                                   2      A A specific question, no.                           2     A There would be the means and method of
                                                                   3      Q How many times in the seven to eight years that    3 estimating the project.
                                                                   4 Go Pro has been in business has Go Pro prepared bid       4     Q Did you complete any estimating activities as
                                                                   5 proposals for construction-related projects?              5 it relates to the Latvian Embassy project?
                                                                   6      A I don't recall.                                    6     A Yes.
                                                                   7      Q Do you have an estimated number of times?          7     Q What estimating activities?
                                                                   8      A How -- last what? Seven years you said?            8     A I don't recall.
                                                                   9      Q In the existence of Go Pro.                        9     Q Did you prepare any sort of cost valuation
                                                                   10     A How many contracts we have done?                   10 reports?
                                                                   11     Q That specifically bid proposals. So receiving      11 A Can you be more specific. Before, after,
                                                                   12 a letter of invitation to bid and bidding on that        12 during?
                                                                   13 project?                                                 13 Q Before. In preparing the bid proposal, dd you
                                                                   14     A In the last seven years?                           14 calculate this is the number of man hours we'll need,
                                                                   15     Q Correct.                                           15 this is the cost of equipment, materials, things to that
                                                                   16     A I don't know. More 300.                            16 nature to --
                                                                   17     Q More than 300?                                     17 A I don't recall.
                                                                   18        And when preparing a bid proposal, can you walk   18 Q If you were to put together a cost estimation
                                                                   19 me through that process, what it entails?                19 documentation, would that be maintained through an Excel
                                                                   20     A Can you be more specific. I --                     20 sheet, online database, how would Go Pro typically --
                                                                   21     Q Do you review the bid documents provided with      21 A Some documents are Word documents. So it
                                                                   22 the letter of invitation to ver bid?                     22 depends on the project. Every project is a specific and
                                                                                                                        26                                                            28
                                                                   1      A Depends on the project. If we have estimators 1 unique.
                                                                   2 and --                                                   2     Q Did Go Pro undergo any sort of review or
                                                                   3      Q How does Go Pro determine ultimately the cost 3 inspection of their records to determine whether or not
                                                                   4 attributed to the bid proposal?                          4 any such documentation existed as it relates to the
                                                                   5      A Every job is different.                           5 Latvian Embassy project?
                                                                   6      Q Do you make a determination how much it will      6     A I don't recall.
                                                                   7 cost you versus how much you want to be paid?            7     Q How does Go Pro typically pay its employees?
                                                                   8      A Can you -- I don't understand the question.       8     A Can you be more specific.
                                                                   9      Q Let's say you want to bid on a project, and       9     Q Does Go Pro pay its employees through direct
                                                                   10 your bid proposal says we'll do the work for $1.5       10 deposit?
                                                                   11 million. Just a hypothetical. Am I correct in assuming  11    A No.
                                                                   12 that Go Pro does has not calculated that their cost to  12    Q Does Go Pro pay its employees through checks?
                                                                   13 complete the work will also be $1.5 million? I'm        13    A Yes.
                                                                   14 assuming that there's profit and overhead included in   14    Q Were these checks drawn from the same bank
                                                                   15 the determination of the bid proposal amount?           15 account that we previously discussed relating to
                                                                   16     A In all honesty, I'm not sure I understand your 16 payments made to subcontractors?
                                                                   17 question.                                               17    A Not necessarily.
                                                                   18     Q When entering into an agreement for a             18    Q So it's possible Go Pro maintains two separate
                                                                   19 construction-related project, does Go Pro try to make a 19 bank accounts; one for payroll and one for paying
                                                                   20 profit on their jobs?                                   20 subcontractors?
                                                                   21     A Of course, yes.                                   21    A Yes.
                                                                   22     Q How do you go about trying to ensure that you     22    Q How about purchasing equipment and materials
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                        8 (29 to 32)

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                                                                                                                          29                                                         31
                                                                   1 for a project, how does purchases typically take place? 1 Go Pro has been in existence, has Go Pro ever prepared a
                                                                   2 Is it drawn on a bank account, credit card?             2 said a financial statement?
                                                                   3     A It depends.                                       3      A I don't recall.
                                                                   4     Q Does Go Pro document purchases made for           4      Q Are you aware of whether or not Go Pro has ever
                                                                   5 equipment or materials on projects?                     5 been audited or reviewed by any --
                                                                   6     A    Document?     Can  you  elaborate.             6      A Not that I recall.
                                                                   7     Q Do you keep receipt -- do you keep receipts?      7      Q -- tax authority.
                                                                   8     A Yes.                                              8        Does Go Pro have an accountant?
                                                                   9     Q And how are those receipts maintained? Where 9           A Yes.
                                                                   10 do you keep the receipts after purchase?               10 Q Who is your accountant?
                                                                   11 A It's specific to each project.                       11 A Name or business name or --
                                                                   12 Q For the Latvian Embassy project, how were            12 Q Both.
                                                                   13 receipts maintained?                                   13 A It's Fadi, F-A-D-I, Salah. And his company is
                                                                   14 A I don't recall.                                      14 -- I don't recall the name of his company.
                                                                   15 Q Has Go Pro inspected its records to try to           15 Q And where is he located?
                                                                   16 identify any receipts for purchases, equipment, or     16 A I'm not sure.
                                                                   17 materials for the Latvian Embassy project?             17 Q How long has he served as Go Pro's accountant?
                                                                   18 A I don't recall.                                      18 A I don't recall right now.
                                                                   19 Q Who at Go Pro underwent the inspection for           19 Q Was he the accountant for Go Pro at the time of
                                                                   20 documents in this case?                                20 the Latvian Embassy project?
                                                                   21 A I don't recall.                                      21 A I don't recall.
                                                                   22 Q Does Go Pro Construction have any sort of            22 Q Do you have any estimated timeline for how long
                                                                                                                          30                                                         32
                                                                   1 retention policy relating to documents for construction   1 he has served as your accountant?
                                                                   2 projects?                                                 2      A If I were to take a guess, it would be three to
                                                                   3     A Can you elaborate on that question.                 3 four years.
                                                                   4     Q Some companies have retention policies that say     4      Q In serving as your accountant, have you ever
                                                                   5 they will not dispose of documents for three years,       5 provided him with any financial information to assist in
                                                                   6 let's say. Does Go Pro have any similar policy relating   6 his accounting services?
                                                                   7 to the maintaining documents?                             7      A Yes.
                                                                   8     A I'm not sure of that question.                      8      Q And what documentation have you provided him?
                                                                   9     Q You are the owner of Go Pro, correct?               9      A Can you be more specific.
                                                                   10 A Correct.                                               10     Q You stated you provide him certain financial
                                                                   11 Q Do you have some decisionmaking powers in              11 information. I'm asking what you provide him?
                                                                   12 determining whether or not a retention policy exists?    12     A Bank account.
                                                                   13 A You said that some companies have a retention          13     Q Just bank account information?
                                                                   14 policy, and I said I'm not aware of that policy.         14     A Yes.
                                                                   15 Q Are you aware that Go Pro has one?                     15     Q Does that include bank statements?
                                                                   16 A No.                                                    16     A Yes.
                                                                   17 Q Go Pro does not have one?                              17     Q And how often do you provide him with these
                                                                   18 A It -- the answer to that question is no.               18 bank statements?
                                                                   19 Q Does Go Pro prepare financial statements               19     A He has access to the bank account.
                                                                   20 annually?                                                20     Q Are you aware of whether or not he's prepared
                                                                   21 A No.                                                    21 any financial statements on behalf of Go Pro?
                                                                   22 Q In the seven to eight years that you estimated         22     A I'm not.
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                                                                                               Transcript of Sameh Elrahimy, Corporate Designee                       9 (33 to 36)

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                                                                                                                      33                                                         35
                                                                    1      Q What banks does Go Pro currently maintain        1     Q Do you have a major?
                                                                    2 accounts with?                                          2     A Yes; construction management.
                                                                    3      A Capital One.                                     3     Q And after Montgomery College, did you attend
                                                                    4      Q That's the only bank?                            4 any other educational --
                                                                    5      A Yes.                                             5     A No.
                                                                    6      Q What type of account do you maintain with        6     Q -- facility.
                                                                    7 Capital One?                                            7     A I take that back. As far as school education,
                                                                    8      A Checking.                                        8 no, but work training education, yes.
                                                                    9      Q So just one checking account?                    9     Q Yes. So you can --
                                                                    10     A We said two.                                     10      THE WITNESS: Can I have some water, please.
                                                                    11     Q Two?                                             11      MR. BARNES: Um-hum.
                                                                    12     A Yeah. The active ones, yes.                      12      THE WITNESS: Thank you.
                                                                    13     Q And how long has Go Pro banked with Capital      13 Q After you graduated from Montgomery College,
                                                                    14 One?                                                   14 did you enter the work force?
                                                                    15     A Six to seven years.                              15 A Yes.
                                                                    16     Q We discussed briefly your father, Raouf. Is he   16 Q Where have you been working?
                                                                    17 the owner of AC&C?                                     17 A Home Depot.
                                                                    18     A Yes.                                             18 Q Home Depot. How long were you at Home Depot?
                                                                    19     Q And does AC&C provide services similar to Go     19 A Roughly six to nine months.
                                                                    20 Pro?                                                   20 Q And what was your role at Home Depot during
                                                                    21     A I can't speak for his behalf.                    21 those six to nine months?
                                                                    22     Q Are you aware that AC&C bidded on the Latvian    22 A Flooring department.
                                                                                                                      34                                                         36
                                                                    1 Embassy project?                                  1    Q And after Home Depot?
                                                                    2      A I don't recall that.                       2    A I started my own company.
                                                                    3      Q Mr. Elrahimy, can you walk me through your 3    Q What company was it?
                                                                    4 educational background.                           4    A Go Green Construction.
                                                                    5      A Can you be more specific.                  5    Q Go Green?
                                                                    6      Q Did you graduate from high school?         6    A Yes.
                                                                    7      A No.                                        7    Q And what was the nature of Go Green
                                                                    8      Q Did you go to high school?                 8 Construction's business?
                                                                    9      A Yes.                                       9    A General contractor.
                                                                    10 Q Where did you go to high school?               10   Q Similar to Go Pro?
                                                                    11 A Seneca Valley High School.                     11   A Yes.
                                                                    12     Q   Where  is that located?                  12   Q Do you recall what year Go Pro -- or Go Green
                                                                    13 A Germantown, Maryland.                          13 Construction was established?
                                                                    14 Q Did you attend any sort of secondary education 14 A I don't.
                                                                    15 after high school?                               15   Q And how long did Go Green Construction exist?
                                                                    16 A Yes.                                           16   A Say roughly three years.
                                                                    17     Q   Where  did  you  go?                     17   Q Was Go Green Construction an LLC?
                                                                    18 A Montgomery College.                            18   A Yes.
                                                                    19 Q Did you graduate?                              19   Q And Go Green Construction ultimately closed?
                                                                    20     A   Yes.                                     20   A Yes.
                                                                    21 Q Is that a two-year degree or four-year degree? 21 Q What was the reason for its closure?
                                                                    22 A Four-year.                                     22   A We just had a name change.
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                                                                                                                          37                                                             39
                                                                    1     Q So Go Green Construction changed to Go Pro?          1 opinions as it relates to the underlying issues in this
                                                                    2     A Yes. New company.                                    2 lawsuit?
                                                                    3     Q Was Go Green Construction ever named as a party      3      A Can you be more specific.
                                                                    4 in a lawsuit?                                              4      Q Do you have any opinions as it relates to the
                                                                    5     A I don't recall.                                      5 Scope of Work for the Contract?
                                                                    6     Q In addition to your construction management          6      A I don't understand that question.
                                                                    7 degree from Montgomery College, have you received any      7      Q Have you reviewed the expert report prepared by
                                                                    8 other licensures or certification related to               8 Neil Sinclair on behalf of VNI in this case?
                                                                    9 construction management?                                   9      A I don't recall.
                                                                    10 A I'm certified lead removal. And the licensing,          10     Q Did there come a time that Go Pro received a
                                                                    11 yeah. Maryland, Virginia and D.C. does require study.     11 Letter of Invitation to Bid from VNI as it relates to
                                                                    12 Q So you're individually licensed in all three of         12 the Latvian Embassy project?
                                                                    13 those jurisdictions?                                      13     A Yes.
                                                                    14 A Both, yes.                                              14     Q All right. Handing you what's been marked as
                                                                    15 Q And are you required to renew those licenses?           15 Go Pro number 3, titled Letter of Invitation to Tender.
                                                                    16 A Yes.                                                    16        (Go Pro Exhibit 3, Letter of Invitation to
                                                                    17 Q How often are you required to renew those               17 Tender, was marked for identification, and is retained
                                                                    18 licenses?                                                 18 by counsel.)
                                                                    19 A Think depends on the -- the state.                      19     Q Do you recognize this document?
                                                                    20 Q Have your licenses in any those three                   20     A Yes.
                                                                    21 jurisdictions ever lapsed for any reason?                 21     Q And is this the copy of the Letter of
                                                                    22 A No. In D.C., yes, we did have a lapse once,             22 Invitation to Bid that you received related to the
                                                                                                                          38                                                             40
                                                                    1 but it was immediately reinstated, and the lapse was       1 Latvian Embassy project?
                                                                    2 under my name, not the company name. So the company did    2     A I would have to confirm, because we received it
                                                                    3 not have a lapse.                                          3 by email, and I don't have the email in front of me, so
                                                                    4      Q Do you recall when that lapse occurred?             4 this is a paper copy. I'd have to match to confirm that
                                                                    5      A I don't.                                            5 they are the same.
                                                                    6      Q Was --                                              6     Q Do you have any reason to doubt the
                                                                    7      A We were still active. We could still do work.       7  authenticity  of the document?
                                                                    8 Just not recall the --                                     8     A Just briefly looking at it, no.
                                                                    9      Q Did that lapse occur during the Latvian Embassy     9     Q I also want to note for the record that it is
                                                                    10 project?                                                  10 labeled Plaintiff's Document Production, so this is a
                                                                    11 A No.                                                     11 document that was produced by Go Pro in discovery.
                                                                    12 Q In addition to your licenses and                        12       In addition to this Letter of Invitation to
                                                                    13 certifications, do you ever participate in any sort of    13 Bid, did you also receive bid documents including
                                                                    14 training relating to construction-management services?    14 drawings and specs relating to the Latvian Embassy
                                                                    15 A Not that I recall.                                      15 project?
                                                                    16 Q Have you ever been retained as an expert                16 A Yes.
                                                                    17 witness in a lawsuit?                                     17 Q And did there come a time that Go Pro decided
                                                                    18 A Not that I recall.                                      18 they were going to submit a bid proposal related to this
                                                                    19 Q In a review of Go Pro's Answers to                      19 Letter of Invitation to Tender?
                                                                    20 Interrogatories, you were identified as a potential       20 A Yes.
                                                                    21 hybrid fact/expert witness who may offer opinions as to   21 Q Prior to preparing the bid proposal, do you
                                                                    22 certain issues in this case. Have you generated any       22 recall if you had any conversations with Raouf Elrahimy
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                             11 (41 to 44)

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                                                                                                             Conducted on July 6, 2023
                                                                                                                          41                                                              43
                                                                    1 relating to the invitation to bid?                          1     Q Turning to page 2 of Exhibit 4, the Bid
                                                                    2      A I don't recall.                                      2 Proposal. Under the subsection titled Payment Terms, it
                                                                    3      Q Handing you what's been marked Go Pro number 4,      3 provides six stages of payment -- well, it says, No down
                                                                    4 it's titled as Proposal Bid.                                4 payment, and then, five stages of payment. Is that
                                                                    5        (Go Pro Exhibit 4, Proposal Bid, was marked for      5 correct?
                                                                    6 identification, and is retained by counsel.)                6     A Yes.
                                                                    7      Q Do you recognize this document?                      7     Q Do you recall who prepared the Payment Terms?
                                                                    8      A Yes.                                                 8     A I don't.
                                                                    9      Q And is this a copy of the Bid Proposal that was      9     Q Could you have prepared the Payment Terms?
                                                                    10 submitted by Go Pro in response to VNI's Letter of         10 A Yes.
                                                                    11 Invitation to Tender?                                      11 Q Under the Payment Terms, it says, More down
                                                                    12 A Yes.                                                     12 payment, and then, 30 percent demo stage. And then, the
                                                                    13 Q Do you recall who drafted this document?                 13 third one is, 35 percent for any interior structure
                                                                    14 A I don't.                                                 14 repair work starts. Same for the fourth and fifth, it
                                                                    15 Q Did you participate in preparing the terms               15 includes the words, Start, starts. Why is there not a
                                                                    16 listed in this Proposal Bid?                               16 start next to the 30 percent demo stage?
                                                                    17 A I don't recall.                                          17 A I'm not sure.
                                                                    18 Q Do you recall who may have been involved?                18 Q Is that because payment was due at the
                                                                    19 A I don't.                                                 19 completion of the demo stage?
                                                                    20 Q Could it have included you?                              20 A I'm not sure, but I would assume so because
                                                                    21 A Sorry?                                                   21 there's no down payment.
                                                                    22 Q Could you have participated in preparing the             22 Q Can you restate that for me?
                                                                                                                          42                                                              44
                                                                    1 terms of this Bid Proposal?                                 1         You wouldn't think that the payment would be
                                                                    2       A Could you rephrase your question.                   2 due at the conclusion of the demo stage because no down
                                                                    3       Q There are terms provided in this Bid Proposal.      3 payment was due?
                                                                    4 Those terms --                                              4      A I'm not sure.
                                                                    5       A Can you tell me which terms you are referring       5      Q Would you agree that if 30 percent of payment
                                                                    6 to.                                                         6 was due and demolition started and that wouldn't in
                                                                    7       Q The entirety of the terms, every word in this       7 effect be a down payment?
                                                                    8 document, listed on Go Pro Construction letterhead.         8      A Can you rephrase that question.
                                                                    9       A I don't recall.                                     9      Q The first stage in this project, according to
                                                                    10      Q Looking specifically at the Project Scope, do       10 these Payment Terms and the schedule work that I'll get
                                                                    11 you recall who prepared the Project Scope -- the Project   11 to shortly, indicates that demolition was the first
                                                                    12 Scope language in the Proposal Bid?                        12 aspect of the job to be completed; is that correct?
                                                                    13      A I don't recall.                                     13     A Yes.
                                                                    14      Q In comparing Exhibit 4 with Exhibit 3, am I         14     Q If payment was due before the first stage of
                                                                    15 correct in concluding that the Project Scope language is   15 the project, that would in effect be a down payment;
                                                                    16 the exact same as been listed in the Letter of             16 would you agree?
                                                                    17 Invitation to Tender?                                      17     A So there is no down payment.
                                                                    18      A Yeah, if you want me to answer that                 18     Q Correct. So am I correct in assuming because
                                                                    19 word-for-word, I would have to read both.                  19 no down payment is due, and the word, start, is not
                                                                    20      Q Take your time and review both and let me know      20 included on the demo stage, then 30 percent of payment
                                                                    21 if there have been any changes.                            21 is due at the completion of the demo stage?
                                                                    22      A It appears to be the same, yes.                     22     A This is your assumption. I cannot speak for
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                           12 (45 to 48)

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                                                                                                                           45                                                            47
                                                                    1 your assumption.                                            1 understanding?
                                                                    2     Q I'm asking -- this is Go Pro's document.              2      Q That what Go Pro contends in its complaint?
                                                                    3     A Yes.                                                  3      A Can you repeat that question.
                                                                    4     Q What did Go Pro mean by the Payment Terms?            4      Q Does Go Pro contend that there was a dispute
                                                                    5     A So demo stage, as I said, I don't recall              5 over the Scope of Work related to the Latvian --
                                                                    6 preparing this, but the demo stage doesn't have the         6      A What does contend mean?
                                                                    7 word, Start, next to it. So this would mean that once       7      Q Allege, assert, argue. Is it your position
                                                                    8 the demo was completed, we would receive a payment.         8 there was a dispute?
                                                                    9     Q Okay. And then, turning to the Price, it says,        9      A Regarding the Scope of Work?
                                                                    10 Total price from all work including labor and materials    10 Q Correct.
                                                                    11 from the original Scope of Work for the base bid,          11 A I'm not sure I understand the question. Can
                                                                    12 $1,150,000. Do you see that?                               12 you repeat.
                                                                    13 A Yes.                                                     13 Q Was VNI's position that the Scope of Work under
                                                                    14 Q Do you recall how Go Pro reached that amount             14 the Contract was broader and included more work than Go
                                                                    15 for this Bid Proposal?                                     15 Pro believed it included?
                                                                    16 A I don't.                                                 16 A I cannot speak for VNI's position. I don't
                                                                    17 Q And you do not remember whether or not that              17 know.
                                                                    18 involved any sort of internal cost estimation prepared     18 Q Did you ever have any conversations with VNI as
                                                                    19 by Go Pro?                                                 19 it relates to the Scope of Work?
                                                                    20 A I don't.                                                 20 A Can you be specific. Who is VNI?
                                                                    21 Q Have there been instances where Go Pro has not           21 Q The company that hired Go Pro to complete the
                                                                    22 conducted any cost evaluation or estimation in preparing   22 construction.
                                                                                                                           46                                                            48
                                                                    1 a bid proposal?                                          1      A But to be specific to that person that I spoke
                                                                    2      A Can you be more specific with your question. 2       to  or  --
                                                                    3      Q Are there times where Go Pro simply comes up 3           Q Individuals at VNI would have included Rihards
                                                                    4 with a number out of thin air without doing any sort of  4 Nikiforovs or Marcis -- Marcis Grivins.
                                                                    5 review or calculation in preparing a bid proposal?       5      A The only person I met on site is Marcus.
                                                                    6      A No.                                               6      Q Okay.
                                                                    7      Q So there's always some sort of assessment or      7      A Yes.
                                                                    8 evaluation taken into consideration in preparing the bid 8      Q Separate and apart from meetings in-person,
                                                                    9 proposal?                                                9 were there any communications ever regarding the Scope
                                                                    10     A Yes.                                              10 of Work that took place via email?
                                                                    11     Q You have not reviewed or located any documents 11 A I don't recall.
                                                                    12 as it relates to the Latvian Embassy Bid Proposal?      12 Q Showing you what's been marked Go Pro number 5.
                                                                    13     A I believe my answer was I don't recall.           13 It's a copy of the Complaint that was filed by Go Pro
                                                                    14     Q But you have not looked for any documentation 14 Construction in the United States District Court for the
                                                                    15 as to any sort of cost assessment or cost valuation in  15 District of Columbia on June 8th, 2022.
                                                                    16 preparing the Bid Proposal?                             16        (Go Pro Exhibit 5, Complaint, was marked for
                                                                    17     A I don't recall.                                   17 identification,  and is retained by counsel.)
                                                                    18     Q It's my understanding in reviewing complaint      18 Q Do you recognize this document?
                                                                    19 filed by Go Pro that there was a dispute over the Scope 19 A Yes.
                                                                    20 of Work under the Contract for the Latvian Embassy      20 Q I want to turn your attention to paragraph
                                                                    21 project, correct?                                       21 number 14. It's on the third page -- fourth page. It
                                                                    22     A Is that correct that this is your                 22 states, Go Pro pointed out to VNI that the agreement
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                                                                                                   Transcript of Sameh Elrahimy, Corporate Designee                          13 (49 to 52)

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                                                                                                                             49                                                         51
                                                                    1 provided for a more limited Scope of Work than              1      Q Turning your attention to the second page.
                                                                    2 originally solicited, and that the original scope could     2 Actually, you can turn back to the first page, on this
                                                                    3 not be performed for the Contract sum for $1,150,000.       3 page.
                                                                    4        Do you see that?                                     4        On Tuesday, June 8, 2021 at 4:21, Rihards
                                                                    5     A Yes.                                                  5 Nikiforovs emailed saying, Hello, Priscilla. I had
                                                                    6     Q Does that refresh your memory of whether or not       6 disturbing information from Embassy. They informed me
                                                                    7 there was a dispute between VNI and Go Pro as it relates    7 that you haven't looked through our project information
                                                                    8 to the Scope of Work in the underlying contract?            8 drawings. Is that true?
                                                                    9     A Yes.                                                  9        In response, on June 8th, 10:57 a.m., looking
                                                                    10 Q Do you recall the specifics of that dispute?             10 at the second paragraph, Priscilla Winters states, All
                                                                    11 A I don't.                                                 11 the items in the Scope of Work that was cited in the
                                                                    12 Q Do you recall what work VNI contends should              12 Invitation to Bid will be done according to the plans
                                                                    13 have been included in the Contract that Go Pro says was    13 and specs provided by the Embassy.
                                                                    14 not included?                                              14       Do you recall receiving this email?
                                                                    15 A I don't.                                                 15 A I don't.
                                                                    16 Q You previously stated that in addition to the            16 Q Is it Go Pro's position that they were to
                                                                    17 Letter of Invitation to Bid, you also reviewed the bid     17 complete all the items in the Scope of Work that was
                                                                    18 documents that were produced by VNI including drawings     18 cited in the Invitation to Bid according to the plans
                                                                    19 and specs, correct?                                        19 and specs?
                                                                    20 A I don't recall me saying I reviewed it. I                20 A Could you elaborate on that question.
                                                                    21 recall saying I received it.                               21 Q Looking on that first sentence on paragraph 2
                                                                    22 Q Do you recall if you reviewed it?                        22 of Priscilla's email --
                                                                                                                             50                                                         52
                                                                    1     A I don't.                                              1      A Yes.
                                                                    2     Q Do you recall if someone else at Go Pro               2      Q -- it says, All the items on the Scope of Work
                                                                    3 reviewed it?                                                3 that was cited in the Invitation to Bid will be done
                                                                    4     A I don't recall.                                       4 according on the plans and specs.
                                                                    5     Q Do you recall whether there were any drawings         5        Is it Go Pro's position that it was going to
                                                                    6 and specs included that Go Pro contends they were not       6 complete all the items in the Scope of Work that was
                                                                    7 responsible to complete under the Contract with VNI?        7 cited in the Letter of Invitation to Bid?
                                                                    8     A Can you repeat -- rephrase that question.             8      A So this is what Priscilla says in the email.
                                                                    9     Q The drawings and specs included certain things        9      Q Correct,
                                                                    10 to be completed at -- at the Latvian Embassy property --   10 A Yes.
                                                                    11 A Yes.                                                     11 Q Is that Go Pro's position of what was to be
                                                                    12 Q -- correct?                                              12 completed?
                                                                    13       Were there certain drawings and specs for work       13 A Yes.
                                                                    14 that Go Pro contends they were not required to do --       14 Q Handing you what's been marked Go Pro number 7.
                                                                    15 A I don't recall.                                          15       (Go Pro Exhibit 7, Contract, was marked for
                                                                    16 Q -- under the Contract.                                   16 identification, and is retained by counsel.)
                                                                    17       Handing you what's been marked Go Pro number 6.      17 Q Do you recognize this document?
                                                                    18 This purports to be an email from Priscilla Winters to     18 A Yes.
                                                                    19 Rihards Nikiforovs, Cindy Conley, with Sameh Elrahimy      19 Q And is this a copy of the complaint -- or the
                                                                    20 and Paul Duenas cc'd, on Tuesday, June 8th, 2021.          20 Contract executed between Go Pro Construction and VNI as
                                                                    21       (Go Pro Exhibit 6, Email, was marked for             21 it relates to the Latvian Embassy project?
                                                                    22 identification, and is retained by counsel.)               22 A Yes.
                                                                                                                   PLANET DEPOS
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          14 (53 to 56)

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                                                                                                                          53                                                            55
                                                                    1      Q I want to focus on Article 1 on the first page.      1       Q Handing you what's been marked Go Pro number 8,
                                                                    2 It says, The Contract Documents. Do you see that            2 also Bates numbered Plaintiff's Document Production 180.
                                                                    3 portion of the Contract?                                    3         (Go Pro Exhibit 8, Plaintiff's Document
                                                                    4      A Yes.                                                 4 Production 180, was marked for identification, and is
                                                                    5      Q It says, A contractor shall complete the work        5 retained by counsel.)
                                                                    6  described in the Contract documents for the project.       6       Q Do you recognize this document?
                                                                    7 Contract documents consist of this agreement containing     7       A Yes.
                                                                    8 13 pages signed by the owner and the contractor, Letter     8       Q Do you recall who prepared this document?
                                                                    9 of Invitation to Tender dated April 1st, 2021, the          9       A I don't.
                                                                    10 contractor Bid Proposal dated May 18th, 2021, and the      10 Q You don't?
                                                                    11 drawings and specifications prepared by the Embassy        11 A No.
                                                                    12 (attached to the Invitation to Tender Letter).             12 Q Could you have prepared it?
                                                                    13        You see that?                                       13 A It's possible.
                                                                    14     A Yes.                                                 14 Q Turning your attention to paragraph number 2.
                                                                    15     Q Based on the reading of Article 1 of this            15 A On that document?
                                                                    16 Contract, was Go Pro responsible for completing all of     16 Q Yes. Can you review that paragraph, and then,
                                                                    17 the work included in the contractor -- or in the           17 I'll ask you questions.
                                                                    18 drawings and specifications prepared by the Embassy?       18 A Yes.
                                                                    19     A Can you rephrase that question again.                19 Q Turning specifically to sentence number 2. It
                                                                    20     Q It says, The contractor shall complete the work      20 says, The additional work in the drawings that is not
                                                                    21 described in the Contract documents. Correct?              21 stated in the Scope of Work in the Contract is not
                                                                    22     A Yes.                                                 22 included in the work to be performed that is clear in
                                                                                                                          54                                                            56
                                                                    1      Q And then, it says, The Contract documents            1 Article 3, Item 3.5.1 Scope of Work notation.
                                                                    2 consist of, and looking specifically at number 4, The       2         You see that?
                                                                    3 drawings and specifications prepared by the Embassy.        3      A Yes.
                                                                    4         So based on my reading of this Contract, am I       4      Q Can you explain how the additional work in the
                                                                    5 correct in concluding that Go Pro was responsible for       5 drawings not stated is not included when the Contract
                                                                    6 completing all of the work for all of the drawings and      6 states that the work -- that, The contractor shall
                                                                    7 specs provided by the Embassy in that Invitation to Bid?    7 complete the work in the Contract documents including
                                                                    8      A No.                                                  8 the drawings and specifications?
                                                                    9      Q Then, what's Go Pro's contention as it relates       9      A Yes. It's under Scope of Work Limitation on
                                                                    10 to the --                                                  10 351.
                                                                    11     A Can you elaborate question.                          11     Q But do you recognize that there is a different
                                                                    12     Q Are there specific drawings and specifications       12 scope provided in Article 1?
                                                                    13 that Go Pro is not responsible for completing?             13        MR. BARNES: Objection.
                                                                    14     A I don't know how to answer that question.            14        THE WITNESS: I have to answer that one?
                                                                    15     Q For example, in the bid documents, it included       15        MR. BARNES: You can answer that, yeah.
                                                                    16 certain work related to a security system. Do you          16     A So can you repeat that question again.
                                                                    17 recall security system drawings and specs being included   17     Q Do you believe that the Scope of Work provided
                                                                    18 in the bid documents?                                      18 in Article 1 is the same as Scope of Work provided in
                                                                    19     A I don't recall.                                      19 Article 3 of the Contract?
                                                                    20     Q Do you recall roof replacement drawings and          20        If you want to take time to review it, please
                                                                    21 specs being included in the bid documents?                 21 go ahead.
                                                                    22     A I would have to review, I don't recall.              22        MR. BARNES: Counsel, I'm confused because
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                                                                                                   Transcript of Sameh Elrahimy, Corporate Designee                               15 (57 to 60)

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                                                                    1 Article 1 isn't the scope; it's Contract documents. And       1 suggesting that there is a specific scope, but because
                                                                    2 so you're kind of conflating the two.                         2 the Contract documents include the plans and drawings,
                                                                    3        MR. GILREATH: I want to be careful about               3 that he's going to have to then do all the works on the
                                                                    4 stating that in front of --                                   4 plans and drawings even if it's more than the scope.
                                                                    5        MR. BARNES: Okay.                                      5 And you've just gone through with him a letter that he
                                                                    6        MR. GILREATH: -- the witness because my                6 recognized that he said, Our scope wasn't all the work
                                                                    7 contention would be it says, The contractor shall             7 on the plans and, so --
                                                                    8 complete the work described in the Contract documents.        8          MR. GILREATH: I'm asking him.
                                                                    9        So it may be titled, The contract documents,           9          MR. BARNES: -- in the face of the clear
                                                                    10 but this sentence implies this isn't a part of the Scope     10 language of this, and the documents you already looked
                                                                    11 of Work.                                                     11 at, I think you're trying to confuse him, and it's been
                                                                    12       MR. BARNES: I --                                       12 successful.
                                                                    13       MR. GILREATH: As used is Contract                      13         MR. GILREATH: I'm not trying to confuse him.
                                                                    14 interpretation.                                              14 I'm simply trying to get his -- Go Pro's position,
                                                                    15       MR. BARNES: I disagree. I mean --                      15 because he's here to testify on behalf of Go Pro, about
                                                                    16       MR. GILREATH: And that's fine. I think that's          16 why it says the work, the contractor shall complete the
                                                                    17 a question for the Court. I'm asking him --                  17 work described in the Contract documents. The contract
                                                                    18       MR. BARNES: Okay.                                      18 documents consist of the drawings and specifications.
                                                                    19       MR. GILREATH: -- does he agree --                      19 He -- this document, and he just testified that there
                                                                    20       MR. BARNES: Okay.                                      20 was additional work in the drawings that is not stated
                                                                    21       MR. GILREATH: -- does he believe --                    21 in the Scope of Work in the Contract, it is not included
                                                                    22       MR. BARNES: But when you're using words the way        22 in the work to be performed. I'm not saying that these
                                                                                                                             58                                                               60
                                                                    1 you're using them, which mislead, understanding that            1 documents are included in the Scope of Work. I'm saying
                                                                    2 this witness' English is his second language, it can be         2 this was supposed to be a part of the underlying work
                                                                    3 confusing. And so if you're referring to Article 1 as a         3 that was contracted to be completed.
                                                                    4 scope when it's specifically not a scope, it's going to         4        This is what -- it says, Shall complete the
                                                                    5 confuse him.                                                    5 work described in these documents. The documents
                                                                    6         MR. GILREATH: I disagree that it's not specific 6 include this. There's no disclaimer that states, Except
                                                                    7 -- it's specifically not a scope. I think it could be           7 for these drawings. That's the point I'm trying to
                                                                    8 interpretive as part of -- it says, The contractor shall        8 make, and if he doesn't know --
                                                                    9 complete the work --                                            9        MR. BARNES: Well --
                                                                    10        MR. BARNES: The word --                                 10       MR. GILREATH: -- if he -- I mean, he's already
                                                                    11        MR. GILREATH: -- described in --                        11 testified that he doesn't know who prepared the
                                                                    12        MR. BARNES: -- scope, doesn't appear anywhere 12 Contract. If he can't testify as to the discrepancy in
                                                                    13 within Article 1.                                              13 between the two --
                                                                    14        MR. GILREATH: The word, shall --                        14 A I didn't say that --
                                                                    15        MR. BARNES: It appears --                               15       MR. GILREATH: -- but and if you disagree to the
                                                                    16        MR. GILREATH: -- complete is included in the            16 discrepancy, that's fine, but I think that's a position,
                                                                    17 language.                                                      17 that's a question for the Court to --
                                                                    18        MR. BARNES: Yeah, but for example, if you were 18                MR. BARNES: Okay. I mean --
                                                                    19 a subcontractor, and he was supplying only windows, and 19              MR. GILREATH: -- ultimately consider.
                                                                    20 he agreed  to  do the windows   in accordance  with  the plans 20       MR. BARNES: -- I think if that's the way you're
                                                                    21 and specifications, that doesn't mean he has to do all         21 going to interpret this, then okay. I mean, I --
                                                                    22 the work on the plans and specifications. And so you're 22 respectfully don't agree, but I'm just going to object
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                         16 (61 to 64)

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                                                                                                                         61                                                          63
                                                                    1 and instruct whatever information you want from the        1      A Yes, I have.
                                                                    2 witness, fine.                                             2      Q You read it?
                                                                    3        MR. GILREATH: That's fine.                          3         So am I correct in Raouf states that if ask if
                                                                    4      Q Here. I'll give a little more clarity. It's         4 VNI intends to have the plans included in page 106 to
                                                                    5 AC&C                                                       5 188 which were the drawings in the bid documents
                                                                    6        MR. BARNES: I mean, do you agree on a               6 included in this project, correct?
                                                                    7 fundamental basis that this company was not obligated      7      A I don't know. I cannot speak for Raouf.
                                                                    8 under the Contract to perform all the work --              8      Q Looking at page 2, Rihards' response. It
                                                                    9        MR. GILREATH: No, I completely disagree.            9 states, We will need all project -- number 3. We will
                                                                    10       MR. BARNES: -- depicted on the plans and            10 need all project done, therefore, we aren't planning to
                                                                    11 drawings?                                                 11 exclude something.
                                                                    12       MR. GILREATH: Completely disagree.                  12        You see that?
                                                                    13       MR. BARNES: Okay.                                   13     A Yes.
                                                                    14       MR. GILREATH:I think I -- I think that's one of     14     Q This is an email between Raouf Elrahimy and
                                                                    15 the underlying issues here.                               15 Rihards, correct, based on your understanding of the
                                                                    16       MR. BARNES: Okay. Okay.                             16 document and understand --
                                                                    17       MR. GILREATH: Because --                            17     A It appears to be correct.
                                                                    18 Q I'm going to show you -- and you stated that            18     Q And you stated that Raouf was involved in the
                                                                    19 Raouf was involved in some capacity with the Bid          19 Bid Proposal?
                                                                    20 Proposal in this case, correct?                           20     A Yes.
                                                                    21 A Yes.                                                    21     Q Did Raouf ever communicate to you that VNI had
                                                                    22 Q I'm going to hand you what's been marked Go             22 told him it intended to have all project done --
                                                                                                                         62                                                          64
                                                                    1 Pro --                                                     1      A I don't know.
                                                                    2      A I would like to clear something for the record.     2      Q -- and not have anything excluded?
                                                                    3 You said that I said I don't know who prepared the         3      A I don't recall.
                                                                    4 Contract, and when I said I don't recall. There's a        4      Q All right. Turning your attention back to the
                                                                    5 difference because this has been a few years.              5 Contract, Exhibit 7. Let me go through additional terms
                                                                    6      Q I appreciate that. Thank you.                       6 under this agreement. Is it Go Pro's position that --
                                                                    7         Showing you what's been premarked as Go Pro        7      A Which page are you on?
                                                                    8 number 9.                                                  8      Q Page 2, Article 3, Section 3.4.
                                                                    9         (Go Pro Exhibit 9, Email thread, was marked for    9      A Article 3, Section 3.4. Yes.
                                                                    10 identification, and is retained by counsel.)              10 Q Is it Go Pro's contention that the Scope of
                                                                    11     Q I understand that you may not have reviewed         11 Work for the Contract only included these 11 line items
                                                                    12 this document previously, but this seems to be a email    12 stated in Section 3.4?
                                                                    13 communications between raouf1811@aol.com and              13 A Yes.
                                                                    14 rihardsnikiforovs@vni. Is raouf1811@aol.com Raouf         14 Q I want turn to Section 10 or Article 10 of the
                                                                    15 Elrahimy?                                                 15 Contract. It's page 7. Going specifically to Section
                                                                    16     A Yes.                                                16 10.1 at the very bottom.
                                                                    17     Q I want to turn to page 3 of this email thread.      17        I says, The Owner, without invalidating the
                                                                    18 It purports to be an email from Raouf to Rihards          18 Contract, may order changes in the work within the
                                                                    19 Nikiforovs. I want to turn specifically to point number   19 general scope of the Contract consisting of additions,
                                                                    20 2 and point number 3. Please take your time to review     20 deletions or other revisions, and the Contract sum and
                                                                    21 and let me know when you've reviewed it, I have a few     21 Contract time shall be adjusted accordingly in writing.
                                                                    22 questions.                                                22        You see that?
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                           17 (65 to 68)

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                                                                                                                            65                                                          67
                                                                    1     A Yes.                                                   1 submitted by you to the Defendant, and all change laws
                                                                    2     Q And then, it says, If the Owner and Contractor         2 maintained by you in connection with the project and
                                                                    3 cannot agree to a change in the Contract sum, the Owner      3 concern or related to the work performed by you.
                                                                    4 shall pay the Contractor its actual costs plus               4         Do you recall Go Pro reviewing its documents to
                                                                    5 reasonable overhead and profits.                             5 identify whether any such documents exist?
                                                                    6        You see that?                                         6      A I don't.
                                                                    7     A Yes.                                                   7      Q Turning your attention to Request number 18 on
                                                                    8     Q Any discussion over the dispute over the Scope         8 page 5. It says, All internal costs estimates take-offs
                                                                    9 of Work for this agreement. Was there ever any               9 bid worksheets, bid summaries, bid papers and pricing
                                                                    10 discussion with VNI regarding any change orders in the      10 documents provide -- prepared by or for you concerning
                                                                    11 Scope of Work?                                              11 the project.
                                                                    12 A I don't recall.                                           12        Did Go Pro review its records to in an attempt
                                                                    13 Q Do you recall whether or not Go Pro ever                  13 to identify any internal costs estimates take-offs, bid
                                                                    14 prepared any change orders related to the Scope of Work?    14 worksheets, bid papers and pricing documents?
                                                                    15 A I don't recall.                                           15     A Go Pro or me?
                                                                    16 Q In other construction projects that Go Pro has            16     Q Go Pro.
                                                                    17 been involved in, has Go Pro prepared change orders?        17     A I don't recall.
                                                                    18 A Yes.                                                      18     Q You do understand that you're here to testify
                                                                    19 Q Has Go Pro typically maintained documentation             19 on behalf of Go Pro today, correct?
                                                                    20 related to those change orders?                             20     A Yes.
                                                                    21 A Yes.                                                      21     Q During the course of this litigation, Go Pro
                                                                    22 Q Have you reviewed Go Pro's documents to                   22 has produced an estimated 240 pages of responsive
                                                                                                                            66                                                          68
                                                                    1 identify whether or not any change orders exist as it        1 documents. Did you participate in gathering those
                                                                    2 relates to the Latvian Embassy project?                      2 documents for production?
                                                                    3     A I haven't.                                             3      A I don't recall
                                                                    4     Q Can you walk me through Go Pro's process for           4      Q Do you recall sending your attorney documents
                                                                    5 identifying documents in response to the request for         5 relating to this project?
                                                                    6 documents?                                                   6      A Yes.
                                                                    7     A Can you be more specific.                              7      Q Do you recall, do you know if anyone else at Go
                                                                    8     Q During the litigation in this case, Go Pro was         8 Pro was involved in providing documents to Mr. Barnes?
                                                                    9 served with Request for Production of Documents. I'm         9      A I don't recall.
                                                                    10 handing you what's been marked Go Pro number 10.            10     Q Turning your attention to Request number 24.
                                                                    11       (Go Pro Exhibit 10, Response to Request for           11 It says you --
                                                                    12 Production   of Documents, was marked for identification,   12     A Which page are you referring to?
                                                                    13 and is retained by counsel.)                                13     Q Go to page 10. Your yearly audited financial
                                                                    14 Q Go Pro number 10 is titled Response to Request            14 statement for 2021 and 2022, including all appendices,
                                                                    15 for Production of Documents. These were responses           15 exhibits, notes and accountant's letters.
                                                                    16 provided by Go Pro Construction in response to VNI's        16        Would your accountant have access to any
                                                                    17 Request for Production of Documents. Have you reviewed      17 financial statements for 2021 or 2022?
                                                                    18 this document previously?                                   18     A I don't know.
                                                                    19 A Yes.                                                      19     Q Did Go Pro file taxes in 2021?
                                                                    20 Q I want to turn your attention to Request number           20     A Yes.
                                                                    21 10 on page 3. Request number 10 states, All change          21     Q Did Go Pro file taxes in 2022?
                                                                    22 proposals, request for equitable adjustment and/or claim    22     A We have an extension.
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          18 (69 to 72)

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                                                                                                                            69                                                         71
                                                                    1     Q Did Go Pro file taxes in 2020?                        1      Q What other individuals at Go Pro would
                                                                    2     A Yes.                                                  2 participate in preparing that contract?
                                                                    3     Q And were those both federal and state?                3      A Me.
                                                                    4     A Yes.                                                  4      Q And how would you participate?
                                                                    5     Q Turning your attention to Request number 27.          5      A Can you elaborate on that question.
                                                                    6 All other documents that consist, refer, relate or          6      Q What information do you provide Cindy, what
                                                                    7 pertain to the methodology or calculation of rates,         7 determinate decisions do you make, do you participate --
                                                                    8 charges, job costs, material costs, overhead, and profit    8      A The proposal.
                                                                    9 for the project.                                            9      Q The proposal?
                                                                    10        Did you inspect -- did Go Pro inspect its           10       And the proposal, that would include scope of
                                                                    11 records  to identify any such responsive documents to      11 work?
                                                                    12 Request number 27?                                         12     A Yes.
                                                                    13 A I don't recall.                                          13     Q That would include payment schedule?
                                                                    14 Q I want to turn your attention back to the                14     A Yes.
                                                                    15 Contract marked as Exhibit 7. Did Go Pro -- did the        15     Q That would include work schedule?
                                                                    16 parties ultimately terminate the agreement in 2022?        16     A Not necessarily.
                                                                    17 A I don't recall.                                          17     Q Who typically prepares the work schedule?
                                                                    18 Q So you don't recall who terminated the                   18     A It varies. Every project is different.
                                                                    19 Contract?                                                  19     Q Do you recall who prepared the work schedule in
                                                                    20 A I don't.                                                 20 the Latvian Embassy?
                                                                    21 Q Can you review Section 16.1 on page 11 of the            21     A I don't.
                                                                    22 Contract in Article 16.                                    22     Q Go Pro's Petition, its Answers to
                                                                                                                            70                                                         72
                                                                    1     A You said Article 16. Is it 16.1 or .2?                1 Interrogatories, and its Complaint is that it terminated
                                                                    2     Q I'm going to start with 16.1?                         2 the Contract for breach of Contract under Section 16.1.
                                                                    3     A Okay.                                                 3 Is that your understanding?
                                                                    4     Q Can you review Article 16.1 titled, Termination       4     A Can you repeat that question again.
                                                                    5 by the Contractor.                                          5     Q In reviewing Go Pro's Complaint, and in Go
                                                                    6     A I'm done reviewing.                                   6 Pro's Answers to Interrogatories in this case, Go Pro
                                                                    7     Q Do you recall who prepared Section 16.1 of the        7 contends that it terminated the Contract under Section
                                                                    8 Contract?                                                   8 16.1 of the Contract?
                                                                    9     A I don't.                                              9     A I don't recall.
                                                                    10 Q Did Go Pro prepare this Contract?                        10 Q So testifying on behalf of Go Pro, you have no
                                                                    11 A Yes.                                                     11 recollection of how the Contract ultimately was
                                                                    12 Q Is there an individual at Go Pro that typically          12 terminated?
                                                                    13 prepares the Contract?                                     13 A Can you repeat that question or rephrase it.
                                                                    14 A I don't recall.                                          14 Q You're here today as corporate designee for Go
                                                                    15 Q If there was a construction project to begin             15 Pro to testify -- testify on behalf of Go Pro?
                                                                    16 tomorrow, and you were executing a contract, or you were   16 A Yes.
                                                                    17 preparing a con -- Go Pro was preparing a contract with    17 Q Am I correct that you just testified that you
                                                                    18 a property owner, who a Go Pro would prepare the           18 don't recall who terminated the Contract?
                                                                    19 Contract?                                                  19 A Correct.
                                                                    20 A Cindy.                                                   20 Q And you don't recall the reason for the
                                                                    21 Q Cindy.                                                   21 termination?
                                                                    22 A Cindy Conley.                                            22 A Correct.
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                        19 (73 to 76)

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                                                                    1     Q Turning to the last page, page 13 of the             1      Q And above the shaded box, it states, Prior to
                                                                    2 Contract. This is your electric signature under            2 start date, correct?
                                                                    3 Contractor, correct?                                       3      A Yes.
                                                                    4     A Yes.                                                 4      Q And underneath, it says, Pre-construction
                                                                    5       When you say electric, assuming you mean like        5 period?
                                                                    6 --                                                         6      A Yes.
                                                                    7     Q eSigning.                                            7      Q Does this Work Schedule indicate that
                                                                    8     A -- eSigning or something --                          8 demolition was to occur prior to the framing material
                                                                    9     Q -- yeah, Adobe or something like that.               9 delivery and the framing listed in line item 3 and 4?
                                                                    10 A Yes.                                                    10 A I'm not sure.
                                                                    11 Q Turning back to Article 3, page 2 of the                11 Q We previously discussed looking at the Contract
                                                                    12 Contract. We discussed this previously.                   12 again, Subsection 3.2, Exhibit 7, page 2. The fact that
                                                                    13 A Which article? Which page?                              13 there's no term, starts, next to demolition stage, that
                                                                    14 Q Page 2, Article 3.                                      14 demolition stage was to be completed prior to the
                                                                    15 A Yes.                                                    15 framing and interior structure repair work starting,
                                                                    16 Q You said you do not recall who prepared the             16 correct?
                                                                    17 Payment Schedule in Section 3.2?                          17 A I'm not sure.
                                                                    18 A Correct.                                                18 Q Is it Go Pro's contention that it completed the
                                                                    19 Q But it is possible you may have prepared it?            19 demolition work as required under the Contract?
                                                                    20 A It's possible.                                          20 A What do you mean?
                                                                    21 Q I'm going to compare Payment Schedule with what         21 Q The Payment Schedule says, 30 percent for
                                                                    22 has been marked as proposal --                            22 demolition stage.
                                                                                                                           74                                                        76
                                                                    1       I'm handing you what's been marked as Go Pro         1       Demolition --
                                                                    2  number  11, a document produced in Go Pro's document      2     A  Yes.
                                                                    3 production.                                                3     Q -- stage, I'm assuming, correct me if I'm
                                                                    4       (Go Pro Exhibit 11, Work Schedule, was marked        4 wrong, included demolition work.
                                                                    5 for identification, and is retained by counsel.)           5     A Yes.
                                                                    6     Q Do you recognize this document?                      6     Q Did Go Pro complete the demolition work as
                                                                    7     A I don't.                                             7  required under the Contract?
                                                                    8     Q Do you know whether or not this document             8       MR. BARNES: Objection. You may answer if you
                                                                    9 purports to be the Work Schedule for the Latvian Embassy   9 understand.
                                                                    10 project?                                                  10 A I'm not able to answer.
                                                                    11 A It appears so.                                          11 Q Do you recall if laborers were involved in the
                                                                    12 Q Do you know whether or not this document was            12 Latvian Embassy project?
                                                                    13 prepared by Go Pro?                                       13 A I don't.
                                                                    14 A I don't recall.                                         14 Q Do you recall the name of any individuals?
                                                                    15 Q In typical construction matters, is Go Pro the          15 A I don't.
                                                                    16 one responsible for preparing the work schedule?          16 Q Do you -- were Go Pro employed laborers
                                                                    17 A No.                                                     17 involved in the Latvian Embassy project?
                                                                    18 Q In reviewing the Work Schedule, and looking             18 A Can you elaborate on that question.
                                                                    19 specifically at item number 2, Demolition and Stocking,   19 Q Were there individuals that were hired by Go
                                                                    20 and then, there's a shaded box that's Demolition and      20 Pro, paid by Go, Pro that provided labor for the
                                                                    21 Stocking also for Mobilization. Do you see that?          21 construction project?
                                                                    22 A Yes.                                                    22 A I don't recall.
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                         20 (77 to 80)

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                                                                    1      Q Aside from participating in the Bid Proposal      1      A I don't.
                                                                    2 process, was Raouf Elrahimy involved in any other        2      Q Was your brother involved in
                                                                    3 capacity for the Latvian Embassy project?                3 construction-related activities at the project site?
                                                                    4      A Can you elaborate on that first part of that      4      A Which brother?
                                                                    5 question.                                                5      Q Omar Elrahimy.
                                                                    6      Q   So  you --                                      6      A I'm not sure.
                                                                    7      A You said aside from?                              7      Q Do you know whether or not he participated in
                                                                    8      Q The Bid Proposal process, you stated that Raouf 8 the purchasing of any equipment or materials for the
                                                                    9 was involved in reviewing the bid documents and          9 Latvian Embassy project?
                                                                    10 assisting in preparing Bid Proposal, correct?           10     A No.
                                                                    11     A You're asking if I said that?                     11        No, it's true, I'm not sure.
                                                                    12     Q Yes.                                              12     Q It's my understanding that work for this
                                                                    13     A In which phase of the meeting?                    13 project began in August of 2021; is that correct?
                                                                    14     Q In between receiving the Letter of Invitation     14     A I don't recall.
                                                                    15 to Bid and ultimately submitting the bid proposal .     15     Q Mr. Elrahimy, you understand that you were
                                                                    16     A Was Raouf involved?                               16 served with a copy of the Notice of Deposition today --
                                                                    17     Q Yes.                                              17 and by you, I'm directing that to Go Pro Construction --
                                                                    18     A Yes.                                              18 to identify individuals able to testify as to certain
                                                                    19     Q Aside from that involvement, was he involved in 19 topics, correct?
                                                                    20 other aspects of the Latvian Embassy project? And I can 20     A Could you rephrase that question.
                                                                    21 be specific if you'd like me.                           21     Q I've provided Exhibit number 1. It should be
                                                                    22     A Yes.                                              22 in front of you at the bottom of the stack.
                                                                                                                         78                                                           80
                                                                    1     Q Was he involved in overseeing any of the actual     1         It was the very first document I gave you so
                                                                    2  construction work at the project site?                   2 it's probably at the bottom of the pile?
                                                                    3     A Yes.                                                3      A That's fine. I'm getting organized so I have a
                                                                    4     Q Was he involved in communications with VNI's        4 large pile.
                                                                    5 representatives during the construction process?          5         I'm looking at it.
                                                                    6     A I'm not sure.                                       6      Q And you say you previously reviewed this
                                                                    7     Q Was he involved in conversations with laborers      7 document?
                                                                    8 at the project site?                                      8      A Yes.
                                                                    9     A I'm not sure.                                       9      Q In reviewing this document, were there any
                                                                    10 Q Did he participate in purchasing materials or          10 items that you identified as not having knowledge or
                                                                    11 equipment being used at the project site?                11 information about it?
                                                                    12 A I'm not sure.                                          12     A Can you be more specific.
                                                                    13 Q Was Raouf paid at all for his time --                  13     Q This document includes 32 topics to be
                                                                    14 A I'm not sure.                                          14 discussed during the deposition today. Did you review
                                                                    15 Q -- involving the project?                              15 each of the 32 items listed?
                                                                    16       Was Raouf paid by Go Pro?                          16     A Yes.
                                                                    17 A I'm not sure. I don't recall.                          17     Q You understand that this document was served on
                                                                    18 Q Has Raouf been involved in other projects              18 Go Pro to identify individuals who could testify as to
                                                                    19 involving Go Pro Construction?                           19 these 32 topics, correct?
                                                                    20 A I don't recall.                                        20     A Yes.
                                                                    21 Q Do you recall ever paying Raouf Elrahimy for           21     Q Are there any of the 32 items in which you do
                                                                    22 any services provided to Go Pro?                         22 not have information or knowledge to testify regarding
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                         21 (81 to 84)

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                                                                                                                            81                                                        83
                                                                    1 on behalf of Go Pro?                                       1 number 1.
                                                                    2     A I don't understand the question.                     2         (Go Pro Exhibit 12, Work Progress Report number
                                                                    3     Q For example, item number 22. You see item            3 1, was marked for identification, and is retained by
                                                                    4 number 22?                                                 4 counsel.)
                                                                    5     A Yes.                                                 5      A Okay.
                                                                    6     Q Itemization of all work that Go Pro contends it      6      Q Do you recognize this document?
                                                                    7 completed under the Contract.                              7      A Yes.
                                                                    8     A Yes.                                                 8      Q Did you review this document before your
                                                                    9     Q Do you know what work Go Pro completed under         9 deposition today?
                                                                    10 the Contract?                                             10     A I didn't.
                                                                    11 A Not off the top of my head.                             11     Q Did you review this document at all during the
                                                                    12 Q Item number 15, job -- Go Pro's job costs,              12 course of this litigation?
                                                                    13 overhead, revenues and profits relating to the work       13     A Yes.
                                                                    14 completed under the Contract from July 29, 2021 to the    14     Q Okay. Am I correct in assuming Go Pro prepared
                                                                    15 present. Do you have information or knowledge related     15 this document?
                                                                    16 to Go Pro's job costs, overhead, revenues and profits     16     A Yes.
                                                                    17 relating to --                                            17     Q And does this Work Progress Report number 1
                                                                    18 A Not off the top of my head.                             18 purport to provide what Go Pro has done up to August
                                                                    19 Q Have you reviewed any documents regarding any           19 27th, 2021 as it relates to the Latvian Embassy project?
                                                                    20 of this information?                                      20     A Yes, that's what it says.
                                                                    21 A No.                                                     21     Q And do you know who provided the information
                                                                    22 Q Item number 30, Go Pro's purported termination          22 that is in this report?
                                                                                                                            82                                                        84
                                                                    1 of the Contract and VNI's termination for convenience. 1        A As far as who sent the email or who provided
                                                                    2      A Yes.                                              2 the -- who put it together or who provided the email
                                                                    3      Q And you previously stated you did not know who 3 or --
                                                                    4 terminated the Contract?                                 4      Q So I know you weren't present for Ms. Winters'
                                                                    5      A I said I don't recall.                            5 deposition, but she stated that she drafted the Work
                                                                    6      Q You said you don't recall?                        6 Progress Report, that --
                                                                    7      A Yes, I don't recall.                              7      A Sure.
                                                                    8      Q And how does that vary from I don't know?         8      Q -- the information within the Progress Report
                                                                    9      A I don't know means I have no idea. I don't        9 was information given to her by other members of the Go
                                                                    10 recall is that I need to review documents to be able to 10 Pro team, but she did not recall which individuals gave
                                                                    11 recall.                                                 11 her that information.
                                                                    12        MR. GILREATH: Can we take ten minutes.           12     A Sure.
                                                                    13        (A brief recess was taken.)                      13     Q Do you know which individuals provided this
                                                                    14        THE COURT REPORTER: We're back on.               14 information or --
                                                                    15 BY MR. GILREATH:                                        15     A She probably did it with my father.
                                                                    16     Q Before we took a break, Mr. Elrahimy, you         16     Q Okay. Looking at line item 3, it says
                                                                    17 stated -- I showed you documents where we'll be able to 17 Mobilization of demolition work --
                                                                    18 have a little bit more substantive conversation about   18     A On the same Exhibit 12?
                                                                    19 the history of the Latvian Embassy project.             19     Q Yes. Number 3, it says, Mobilization of
                                                                    20     A   Yes.                                            20 demolition  work started on Thursday, August 26th, 2021
                                                                    21     Q So I'm going to show you what's been marked as 21 at 10 a.m.
                                                                    22 Exhibit 12. It's going to be the Work Progress Report   22       You see that?
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                            22 (85 to 88)

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                                                                                                                           85                                                             87
                                                                    1     A Yes.                                                  1       Handing you what's been marked Go Pro number
                                                                    2     Q And flipping back to the Work Schedule that was       2 13. It is titled, Corrective -- Corrected Invoice,
                                                                    3 previously produced as an exhibit. I think it might be      3 dated August 27, 2021.
                                                                    4 document, Exhibit number 11.                                4       (Go Pro Exhibit 13, Corrected Invoice, was
                                                                    5     A Yes.                                                  5 marked for identification, and is retained by counsel.)
                                                                    6     Q Does that fall in line with the Work Schedule         6     Q Do you recognize this document?
                                                                    7 that mobilization demolition were to occur beginning of     7     A Yes.
                                                                    8 the project?                                                8     Q And does this purport to be invoice for payment
                                                                    9     A As far as the date or is that -- is the               9 for the 30 demo stage --
                                                                    10 schedule was created on August 24, 2020, and this          10 A That --
                                                                    11 progress report was August 27, 2021. Is the answer to      11 Q -- portion of the project?
                                                                    12 the question or --                                         12 A The -- the 30 percent? Yeah, 30 percent demo
                                                                    13 Q So my question is do the -- does the Work                13 stage. Yes.
                                                                    14 Schedule Progress Report number 1 fall in line with each   14 Q Was this invoice issued because the demo stage
                                                                    15 other in the sense that demolition and Stocking            15 had or was going to be completed in the near future?
                                                                    16 mobilization had to occur first in time as opposed to      16 A So this was issued based on the demo stage, so
                                                                    17 other aspects of the project in the Work Schedule?         17 we were in the demolition stage, and we issued the
                                                                    18      MR. BARNES: Objection. Based on what the              18 invoice. And it is not pertaining to demo complete or
                                                                    19 Progress Report says. Obviously, it says there was some    19 start. It's demo stage. That's why we issued the
                                                                    20 work done out of sequence.                                 20 invoice. The stage of the demolition.
                                                                    21      MR. GILREATH: Correct.                                21 Q So you issued the invoice at the beginning of
                                                                    22 Q But demolition took place at the beginning of            22 demolition stage?
                                                                                                                           86                                                             88
                                                                    1 the project?                                                1     A I don't recall exactly. So this was on July
                                                                    2     A Yeah, demolition occurred --                          2  29th, and per the report -- yeah, so it could have been,
                                                                    3     Q I understand it says, Roof repair would take          3 you know, during or before or after demolition. I'd
                                                                    4 precedence over some --                                     4 have to investigate further but --
                                                                    5     A Yeah.                                                 5     Q Turning back to the Contract.
                                                                    6     Q -- necessary issues --                                6     A Yes. Which exhibit that was?
                                                                    7     A Sure.                                                 7     Q Payment Schedule. I believe it is Exhibit 7.
                                                                    8     Q -- but demolition was taking place at the             8     A Yes.
                                                                    9 beginning?                                                  9     Q Payment Schedule on page 2.
                                                                    10 A Yes.                                                     10 A Yes.
                                                                    11 Q Okay. And then, item 8, it says, Demolition              11 Q The 30 percent demolition stage does not
                                                                    12 work --                                                    12 include the word, start, so it's included in the
                                                                    13 A On the 12, Exhibit 12?                                   13 following payments, correct?
                                                                    14 Q On Exhibit 12.                                           14 A What do you mean?
                                                                    15 A Okay.                                                    15 Q So it says, 30 percent demolition stage.
                                                                    16 Q Number 8 says, Demolition work in progress is            16 A Yeah, it doesn't say start but it doesn't say
                                                                    17 scheduled to be mostly completed by Thursday, September    17 begin. It's during that stage.
                                                                    18 2nd, 2021.                                                 18 Q So --
                                                                    19 A Yes.                                                     19 A So could be mobilization and demolition.
                                                                    20 Q Correct?                                                 20 Q So it's Go Pro's contention that it could
                                                                    21 A Yes.                                                     21 provide the invoice at any point in time during the
                                                                    22 Q That was number 1.                                       22 demolition stage?
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          23 (89 to 92)

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                                                                                                                           89                                                          91
                                                                    1     A I'd say demolition stage is during the                1     A Yes.
                                                                    2 demolition or at the beginning of the demolition while      2     Q And you say, The payment for the demolition
                                                                    3 it's, you know, during mobilization and demolition.         3 stage was provided in September of 2021, correct?
                                                                    4     Q Did you receive payment from VNI for invoice          4     A I don't have --
                                                                    5 number 1?                                                   5     Q Estimated timeline?
                                                                    6     A Yes, I believe so, yes. Possibly 2.                   6     A -- the exact date, but yes, somewhere around.
                                                                    7     Q Do you recall when you received payment from          7 I could be wrong. I'd have to check the exact time
                                                                    8 VNI for invoice number 1?                                   8 duration, but --
                                                                    9     A Like an exact date?                                   9     Q Showing you what's previously marked -- it was
                                                                    10 Q It could be an estimated date if you don't have          10 previously marked as Exhibit 2, but it was Work Progress
                                                                    11 an exact date.                                             11 Report number 3.
                                                                    12 A I could be wrong, but I believe it was within a          12    A Okay. Yes.
                                                                    13 months of sending the invoice.                             13    Q And I'm also going to be referencing in these
                                                                    14 Q So sometime in September 2021 sounds -- sounds           14 questions the Work Schedule --
                                                                    15 --                                                         15    A Yes.
                                                                    16 A Yeah, sounds right.                                      16    Q -- again. So Exhibit 2 is titled Work Progress
                                                                    17 Q Handing you what's been marked Go Pro number             17 Report number 3, dated October 1st, 2021. Was this
                                                                    18 14, titled Work Product Report number 2, dated September   18 prepared by Go Pro Construction?
                                                                    19 17, 2021.                                                  19    A Yes.
                                                                    20       (Go Pro Exhibit 14, Work Product Report number       20    Q Does this pertain to progress on the Latvian
                                                                    21 2, was  marked for identification, and is retained by      21 Embassy project --
                                                                    22 counsel.)                                                  22    A Yes.
                                                                                                                           90                                                          92
                                                                    1     Q Similar questions to Work Product Report number       1      Q -- between the completion of Progress Report
                                                                    2  1. Do you recognize this document?                         2 number 2 and October 1st, 2021?
                                                                    3     A Yes.                                                  3      A Yes.
                                                                    4     Q Is this a progress report prepared by Go Pro as       4      Q Turning to number 2. It says, The actual start
                                                                    5 it relates to work that had been completed between          5 date of the project is September 29th, 2021. And it
                                                                    6 Progress Report number 1 and September 17, 2021?            6 says (first payment claimed) for the duration of 240
                                                                    7     A Yes.                                                  7 working days from start date to the complete date --
                                                                    8     Q Priscilla Winters previously testified that she       8 completion date is Friday, September 16 th, 2022.
                                                                    9 typed this Progress Report. Do you know who provided        9         Do you see that?
                                                                    10 the information included in the Progress Report?           10     A Yes.
                                                                    11 A Probably my father.                                      11     Q Do you recall who provided that information?
                                                                    12 Q Anyone else?                                             12     A As far as who send the email or who prepared
                                                                    13 A I'm not sure. Maybe Omar Elrahimy, my brother.           13 this, put this together?
                                                                    14 Q And he is the owner of Optimum Construction?             14     Q Who would have provided Priscilla the
                                                                    15 A Correct, yes.                                            15 information?
                                                                    16 Q Line item 1 on Exhibit 13 --                             16     A My father, most likely.
                                                                    17 A Yes.                                                     17     Q And comparing what is stated in number 2 with
                                                                    18 Q -- states, Demolition work completed as per              18 the Work Schedule --
                                                                    19 plans?                                                     19     A Yes.
                                                                    20 A Yes.                                                     20     Q -- does it fall in line that -- and I'll be
                                                                    21 Q Does this purport to indicate that demolition            21 referencing Work Progress Report number 2 where it's
                                                                    22 work had been completed as of September 17th, 2021?        22 stated that demolition work completed as per plans, and
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                            24 (93 to 96)

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                                                                                                                           93                                                            95
                                                                    1 now it says the actual start date of the project is         1      A This one here?
                                                                    2 September 29th, first payment is cleared.                   2      Q Yeah.
                                                                    3        Does that fall in line with the Work Schedule        3      A Yes.
                                                                    4 that demolition and stocking is completed prior to start    4      Q So --
                                                                    5 date, and then, start date and framing begins after         5      A How was that the -- number 2?
                                                                    6 that?                                                       6      Q It was line number 2, The actual start date of
                                                                    7     A Could you rephrase that question.                     7 project is September 29th.
                                                                    8     Q So in Progress Report number 2 --                     8      A Yes.
                                                                    9     A Okay.                                                 9      Q It says, Demolition completed, start date
                                                                    10 Q -- the very first sentence says, Demolition              10 assigned. Correct?
                                                                    11 work completed as per plans.                               11     A It appears so, yes.
                                                                    12       I'm looking at number 2.                             12     Q And in between demolition work being completed
                                                                    13 A Okay.                                                    13 and the start date beginning, payment was received for
                                                                    14 Q We're still on number 3. So this is number 3.            14 Invoice Number 1 from VNI?
                                                                    15 I'm looking at Work Progress Report number 2. The very     15     A Yeah, I don't have the date of the received
                                                                    16 first sentence. Number 1 on Work Progress Report number    16 payment, but --
                                                                    17 2.                                                         17     Q Progress Report number 3, as prepared by Go
                                                                    18 A In Exhibit 4?                                            18 Pro, seems to indicate that at least by October 1st,
                                                                    19 Q Yeah. In Exhibit 14, yes.                                19 2021, first payment had cleared --
                                                                    20 A Exhibit, and then --                                     20     A Yes.
                                                                    21 Q Number 1 says, Demolition work completed as per          21     Q -- from VNI --
                                                                    22 plans.                                                     22     A So that in August it was received, yes. Yep.
                                                                                                                           94                                                            96
                                                                    1     A Yes.                                                 1      Q So despite in Work Progress Report number 2
                                                                    2     Q    And   that was as of  September   17th, 2021.     2  prepared   on September 17th where it says, Demolition
                                                                    3     A Yes.                                                 3 work completed as per plans, Work Progress Report number
                                                                    4     Q And then, on October 1st, 2021, Work Progress 4 3 two weeks later on October 1st, number 6 states,
                                                                    5 Report number 3. It says, The actual start date of the 5 Exterior demolition will be performed with the repairs.
                                                                    6 project is September 29th.                                 6        You see number 6?
                                                                    7     A Yes.                                                 7      A   On Exhibit 2?
                                                                    8     Q Which is at least 12 days after the demo --          8      Q Yes.
                                                                    9 demolition work had been completed as stated in Work 9            A Yes.
                                                                    10 Progress Report number 2?                                 10 Q Can you explain why Progress Report number 2
                                                                    11 A Yes.                                                    11 indicates that demolition work was completed, but
                                                                    12    Q    Now,   turning to the Work  Schedule.    It says, 12 Progress Report 3 indicates that there's remaining
                                                                    13 Prior to stat date -- and the box is filled in next to,   13 demolition work to be completed?
                                                                    14 Mobilization and demolition and stocking, correct?        14 A So there is -- are gonna always be demolition
                                                                    15 A Yes.                                                    15 going on in any construction project, especially with
                                                                    16 Q Work Progress Report number 2 says, As of               16 the exterior, you would have to demo and repair at the
                                                                    17 September   17th,  demolition  has been   completed.      17 exact same time so you don't allow water to penetrate
                                                                    18        Number 2, Exhibit 14.                              18 the building. If you're gonna repair the roof, you're
                                                                    19 A Yes.                                                    19 not gonna demo the roof and wait a months to get the
                                                                    20 Q And then, it says, Start date September 29th on 20 materials, and then, do the repairs. So it has to be
                                                                    21 Exhibit number 2. Work Progress Report number 3. 21 done immediately at the same time. Demo and repair. So
                                                                    22        The other Progress Report.                         22 assuming that that's what referring to.
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                              25 (97 to 100)

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                                                                                                                          97                                                               99
                                                                    1     Q I guess my question is why was that not stated        1 basement was not completed prior to November 20th, 2021?
                                                                    2 in Progress number 2 when it states demolition work was     2      A Where does -- let me see. Is that on the
                                                                    3 completed?                                                  3 Progress Report that it wasn't completed?
                                                                    4     A I would say it's for the same reason, because         4      Q It says, In order -- contractor will dispose of
                                                                    5 demolition is gonna be ongoing throughout the               5 items remaining in order to complete demolition in the
                                                                    6 construction project. So there is the first the             6 basement.
                                                                    7 essential demolition which we go in and demo all the        7      A Oh, so there -- to the best of my recollection,
                                                                    8 work that's needed, but for example, if you're gonna        8 I believe they had some personal items there that needed
                                                                    9 replace a structural beam, you cannot go in and demo        9 said to be removed. And some of the stuff there, they
                                                                    10 that structural beam, and then, just leave the place       10 also wanted to keep. Like you know, old cabinets,
                                                                    11 not, you know, structurally safe. You have to install      11 toilet, thing like that, they wanted to actually keep
                                                                    12 the new beam first, then take out the old beam. So the     12 and reuse. So I want to say it was Marcus that asked us
                                                                    13 demolition in this case would be done after the repair     13 to not get rid of anything until he, you know, fixed
                                                                    14 work has been done.                                        14 them up, and which he did. He -- and we have emails, I
                                                                    15 Q Turning your attention to -- handing you what's          15 don't have them with me, where he ended up clearing some
                                                                    16 been marked Go Pro number 15, titled Work Progress         16 of the things that were supposed to be demoed and --
                                                                    17 Report number 4, dated November 20th, 2021.                17 quote, unquote, Demoed, and hauled it away, and then, we
                                                                    18      (Go Pro Exhibit 15, Work Progress Report number       18 were able to finish our demolition after that.
                                                                    19 4, was marked for identification, and is retained by       19 Q So is it Go Pro's contention that all the
                                                                    20 counsel.)                                                  20 demolition work that had not been completed in the
                                                                    21 A Yes.                                                     21 basement as of November 20, 2021 has since been
                                                                    22 Q Do you recognize this document?                          22 completed by Go Pro?
                                                                                                                          98                                                              100
                                                                    1      A Yes.                                                 1     A I believe so, yes.
                                                                    2      Q Was this document prepared by Go Pro?                2     Q And then, number 8 says, Joist sistering and
                                                                    3      A Yes.                                                 3 framing work is ongoing, expected to be completed on
                                                                    4      Q This document includes information as to work        4 November 30th, 2021.
                                                                    5 completed by Go Pro between October 1st, 2021, the date     5        See that?
                                                                    6 of the Work Progress number 3, and November 20th, 2021?     6     A Yes.
                                                                    7      A Yes.                                                 7     Q Do you know who provided that information?
                                                                    8      Q Priscilla Winters previously testified that she      8     A It would most likely be my father along with
                                                                    9 typed up this Work Progress Report, but information was     9 Omar, maybe. I wasn't involved in the preparation of
                                                                    10 given to her by others. Do you know who provided her       10 the Daily Work Progress Report.
                                                                    11 the information stated in Work Progress Report number 4?   11 Q And then, number 9 says, Framing and subfloor
                                                                    12 A I'm not sure, but it would most likely be                12 will cover up -- cover joist from top, floor would
                                                                    13 between my father and Omar, my brother.                    13 exposed from underneath for inspections until frame is
                                                                    14 Q Turning to number 6, the second sentence. It             14 completed.
                                                                    15 says, Contractor will dispose of all items remaining in    15       You see that?
                                                                    16 order to complete demolition of the basement.              16 A Yes.
                                                                    17       Do you know what demolition work was necessary       17 Q Would that information have been provided by
                                                                    18 in the basement?                                           18 your father and your brother?
                                                                    19 A Yes, I believe the walls, drywalls, ceilings             19 A Most likely, yes.
                                                                    20 maybe flooring. To the best of my recollection right       20 Q Do you recall if the framing was completed by
                                                                    21 now.                                                       21 Go Pro?
                                                                    22 Q And do you know why the demolition work in the           22 A Yes.
                                                                                                                 PLANET DEPOS
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                            26 (101 to 104)

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                                                                                                                            101                                                          103
                                                                    1      Q All of it?                                           1     Q Did you complete the framing and interior
                                                                    2      A Yes. I'd say substantially all of it. There's        2 structure repair work?
                                                                    3 always framing that may need to be completed as the work    3     A Yeah, I think I just answered that we
                                                                    4 progresses, but --                                          4 substantially completed. Maybe there were some areas
                                                                    5      Q So it says, Floors will be exposed from              5 not hundred percent complete, and that's that framing
                                                                    6 underneath for inspections until framing is complete.       6 will be done. So for example, during the drywall phase,
                                                                    7         Go Pro's contention is most of the framing was      7 the drywall crew will continue some of the framing, so
                                                                    8 complete. Were the floors --                                8 when they have two drywall sheets meet together, some of
                                                                    9      A Is that number 8 or 9?                               9 the framing might be necessary there so they will add it
                                                                    10 Q Yeah.                                                    10 so --
                                                                    11 A 9.                                                       11 Q During the course of construction process, does
                                                                    12 Q Number 9.                                                12 Go Pro monitor costs associated with the project?
                                                                    13 A Okay.                                                    13 A Yes.
                                                                    14 Q It says, Floor will be exposed from underneath           14 Q Do you know how much Go Pro spent in completing
                                                                    15 for inspections until frame is complete.                   15 the demolition stage --
                                                                    16 A For inspection until frame -- yes.                       16 A I --
                                                                    17 Q Are the -- at the time Go Pro left the project,          17 Q -- for the project?
                                                                    18 were the floors still exposed from underneath?             18 A -- don't know this information off the top of
                                                                    19 A Yes. Because like it's the drywalls,                     19 my head. I would need to look at records.
                                                                    20 Q Showing you what's been marked Go Pro number             20 Q Okay.
                                                                    21 16. It is Invoice number 2, and it's dated November        21 A Accounting records. I don't know this
                                                                    22 23rd, 2021.                                                22 information.
                                                                                                                            102                                                          104
                                                                    1         (Go Pro Exhibit 16, Invoice number 2, was           1     Q But Go Pro does maintain some sort of
                                                                    2 marked for identification, and is retained by counsel.)     2  accounting  record for costs attributed --
                                                                    3      Q Do you recognize this document?                      3     A Sometimes it's -- it's done during once the
                                                                    4      A Yes.                                                 4 project is completed. Not necessarily during the
                                                                    5      Q Was this the second invoice issued by Go Pro         5 project. So sometime it would -- because this is a
                                                                    6 for the 35 percent framing and interior structural          6 small project, so it would be done at the end. If it's,
                                                                    7 repair that starts?                                         7 you know, much, much bigger project, we would need to,
                                                                    8      A Yes.                                                 8 you know, do progress or finances during a project, we
                                                                    9      Q Is it Go Pro's contention that it completed all      9 may be able to do that.
                                                                    10 the framing and interior structural repair work as         10 Q Do you know if Go Pro prepared any sort of cost
                                                                    11 required under the Contract?                               11 reports related to costs incurred during either the demo
                                                                    12     A Yes.                                                 12 stage or the framing stage?
                                                                    13     Q All of it?                                           13 A If you have a document, I can maybe refresh my
                                                                    14     A Start -- so repeat that question again because       14 memory to look at if you're referring to a specific
                                                                    15 this one says it starts, the work starts. Are you          15 document.
                                                                    16 saying is it complete?                                     16 Q The reason I asked this, I've not received any
                                                                    17     Q Correct.                                             17 sort of job cost reports from Go Pro in their document
                                                                    18     A But this invoice is for framing and structural       18 production, so I'm asking if they exist.
                                                                    19 repair work starts.                                        19 A Okay.
                                                                    20     Q I understand that.                                   20 Q And if they do, I -- I would like them.
                                                                    21     A Yes. And the question is is the framing              21 A No, I don't -- I don't think I have -- we have
                                                                    22 complete?                                                  22 -- we have something prepared like that for this
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                           27 (105 to 108)

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                                                                                                                          105                                                          107
                                                                    1 project.                                                   1     A That would be Mr. Raouf, my father, Elrahimy..
                                                                    2     Q You stated sometimes for small projects you do       2     Q Let me complete my question.
                                                                    3 it at the conclusion of the project?                       3     A Sorry.
                                                                    4     A Yeah.                                                4     Q Have you looked for to see if you have access
                                                                    5     Q Nothing was prepared following termination of        5 to the Buildertrend documentation during the course of
                                                                    6 the Contract in this matter?                               6 this litigation?
                                                                    7     A I'd have to review my -- my records on that.         7        MR. BARNES: When he says you, he doesn't mean
                                                                    8        MR. BARNES: My understanding is the company has     8 you personally. He means the company.
                                                                    9 no costs records like that.                                9     A Yes. The company, yes.
                                                                    10 Q Handing you what's been marked as Go Pro number         10 Q So has Go Pro sought out the documents in the
                                                                    11 17.                                                       11 Buildertrend file for this litigation for purposes of
                                                                    12       (Go Pro Exhibit 17, Email November 2nd, 2021,       12 discovery producing documents in response, did you look
                                                                    13 was marked for identification, and is retained by         13 for these documents?
                                                                    14 counsel.)                                                 14 A Yes.
                                                                    15 Q Do you recognize this document?                         15 Q Did you find any submittals or RFIs?
                                                                    16       And I'll note that Sameh Elrahimy is cc'd on        16 A I don't recall.
                                                                    17 this November 2nd, 2021 email.                            17 Q Do you recall what RFIs were submitted for
                                                                    18 A Yeah, I recognize this document.                        18 approval?
                                                                    19 Q Do you know Laura Gurriser?                             19 A I don't know.
                                                                    20 A Yeah. She used to work with Optimum                     20       MR. BARNES: Do your people still have access to
                                                                    21 Construction.                                             21 Buildertrend?
                                                                    22 Q And what was her title if you know?                     22       MR. GILREATH: No. They got locked out of it
                                                                                                                          106                                                          108
                                                                    1      A I would say admin, administration.                  1 immediately.
                                                                    2      Q So based on my understanding of this email, it      2        THE COURT REPORTER: Sir, what are you saying?
                                                                    3 indicates that access to the Latvian Embassy project on    3 Builder --
                                                                    4 Buildertrend was provided not only to the individuals of   4        THE WITNESS: Builder --
                                                                    5 VNI but also to Mr. Raouf and Go Pro Construction; is      5        MR. GILREATH: Buildertrend. It's one word.
                                                                    6 that correct?                                              6        THE COURT REPORTER: Can you spell it.
                                                                    7      A Yes.                                                7        MR. BARNES: It's a software.
                                                                    8      Q It also states, We have uploaded the submittals     8        MR. GILREATH: B-U-I-L-D-E-R-T-R-E-N-D.
                                                                    9 and RFIs that we needed -- we need approved and answered   9        THE COURT REPORTER: Thank you?
                                                                    10 as soon as possible. You may find this information in     10 Q So you don't know what -- what RFIs were
                                                                    11 the desk certificate folders titled Submittals or RFIs.   11 submitted by Optimum as it relates to the Latvian
                                                                    12       Do you see that?                                    12 Embassy project?
                                                                    13 A Yes.                                                    13 A I'm trying to remember.
                                                                    14 Q Do you still have access to this Buildertrend           14       There might have been RFI regarding the
                                                                    15 file?                                                     15 elevators, and that's honestly the best to the best of
                                                                    16 A I'm not sure.                                           16 my recollection.
                                                                    17 Q Have you looked to see if you still have access         17 Q In reviewing the bid documents produced by VNI
                                                                    18 to this Buildertrend file?                                18 with the Letter of Invitation to Bid, did Go Pro review
                                                                    19 A Personally, no, but I know Priscilla did have           19 the bid documents in their entirety?
                                                                    20 access to this, but I didn't personally.                  20 A Yes.
                                                                    21 Q Has anyone sought any of the documentation in           21 Q I am going to show you --
                                                                    22 the Buildertrend file --                                  22       (Go Pro Exhibit 18, Handrail Drawing Document,
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          28 (109 to 112)

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                                                                                                                            109                                                       111
                                                                    1 was marked for identification, and is retained by           1 small, I don't have it with me. But there is another
                                                                    2 counsel.)                                                   2 copy that it would say, Replace in kind. Okay. If you
                                                                    3     Q I show what's been marked as Go Pro number 18.        3 look at the one. Yeah, I mean, at the document attached
                                                                    4 Do you recognize this document?                             4 to the letter that we sent. I know it's very little,
                                                                    5     A Yes.                                                  5 but it does say, Replace in kind. And it's very hard to
                                                                    6     Q What does this document purport to state?             6 see, but it's -- it's on there.
                                                                    7     A This is an RFI for the handrail.                      7     Q And I'll note, do you see where that is from
                                                                    8     Q Specifically what?                                    8 Sheet 8302?
                                                                    9     A To replace in kind or -- or place handrail or         9     A Yes.
                                                                    10 replace in kind.                                           10 Q Which differs from Sheet 8504 on Exhibit 19,
                                                                    11 Q And is that because there was a dispute between          11 correct?
                                                                    12 VNI and Go Pro relating to whether to replace or reuse     12 A Yes.
                                                                    13 the handrails?                                             13 Q So --
                                                                    14 A The dispute arised later, not during the -- the          14 A But also, on the -- there's another copy, I
                                                                    15 actual like us doing the work. It's arised when we         15 believe also 504, that says, Replace in kind.
                                                                    16 started dispute.                                           16 Q So you received two different versions of the
                                                                    17 Q So would that have been on or around November            17 drawings --
                                                                    18 11 -- or November 12, 2021?                                18 A Yeah.
                                                                    19 A Yes.                                                     19 Q -- at some point?
                                                                    20 Q And based on this, it's your position that the           20 A Yeah.
                                                                    21 drawings indicate that the handrails could either be       21 Q When did you receive the second set of
                                                                    22 repaired or replaced in kind, correct?                     22 drawings?
                                                                                                                            110                                                       112
                                                                    1      A Correct, yes.                                     1     A I honestly don't recall that, but I believe the
                                                                    2      Q You stated that you reviewed the drawings in      2  first initial one that came was on the one that he sent
                                                                    3 their entirety?                                          3 had the replace in kind.
                                                                    4      A Yes.                                              4     Q So the first set said, Replace in kind?
                                                                    5      Q I'm showing you what's been marked as Go Pro 5          A Yes.
                                                                    6 number 19.                                               6     Q The second set said, Reuse?
                                                                    7        (Go Pro Exhibit 19, 504 architect drawing, was    7     A Correct, yes.
                                                                    8 marked for identification, and is retained by counsel.)  8     Q So the --
                                                                    9      Q This is a 504 architect drawing for the           9     A So the replace in kind was removed. And I'm
                                                                    10 project?                                                10 assuming it would be removed by the architect who has
                                                                    11     A Yes.                                              11 access to the drawings, because that's the CAD file, but
                                                                    12     Q Do you see where it's pointing to the railing     12 the word, replace in kind, was taken out.
                                                                    13 elements and it says, Reuse existing railing elements?  13 Q And was -- were those words taken out before or
                                                                    14     A Yes.                                              14 after the handrails were removed?
                                                                    15     Q It does not include terminology as it does in     15 A I wouldn't know when they took out, but as far
                                                                    16 other aspects of this drawing in where it says you can  16 as our understanding was to remove or replace in kind
                                                                    17 replace, it says reuse?                                 17 when we saw the plans, so it's also to us like if we
                                                                    18     A Yeah, this one doesn't, but there is another      18 were to save the handrails, it would save us money to
                                                                    19 copy that -- that shows to replace in kind, so this was 19 just reuse it instead of replacing in kind.
                                                                    20 changed.                                                20 Q Did you -- did Go Pro ever submit an RFI to
                                                                    21     Q This was changed?                                 21 address the discrepancy between the drawings listed in
                                                                    22     A Yeah. If you look in the -- I know it's a very 22 your November 12, 2021 letter --
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                             29 (113 to 116)

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                                                                                                                         113                                                             115
                                                                    1     A No, I don't think --                               1      Q -- and when Go Pro ceased work, what work did
                                                                    2     Q -- and the updated drawings --                     2 Go Pro complete?
                                                                    3        MR. BARNES: Let him finish.                       3      A I'm not sure, but I would, you know, assume
                                                                    4     Q -- not including the term, replace in kind?        4 that it continued with the framing. Or yeah, I'm not
                                                                    5     A I don't think we've noticed that before that       5 sure.
                                                                    6 there is three different -- three different copies. My   6          That maybe some of -- of -- yeah, that's --
                                                                    7 understanding was it was always replace in -- replace in 7 that's it.
                                                                    8 kind.                                                    8      Q I see. Yes. I'm handing you what's been
                                                                    9     Q But you said Go Pro did review all the bid         9 marked Go Pro number 20. It purports to be a letter,
                                                                    10 documents in their entirety, correct?                   10 dated December 13th, 2021.
                                                                    11    A   Correct, yes.                                    11         (Go Pro Exhibit 20, Letter December 13th, 2021,
                                                                    12 Q Were all aspects of the handrails that were           12 was marked for identification, and is retained by
                                                                    13 removed ultimately replaced?                            13 counsel.)
                                                                    14 A No, we had not started that.                          14     Q Do you recognize this document?
                                                                    15 Q So they were removed but they were not                15     A Yes.
                                                                    16 replaced?                                               16     Q I want to turn your attention -- who drafted
                                                                    17 A Correct.                                              17 this, if you know?
                                                                    18 Q Were there any other progress reports prepared        18     A I would assume it's my father with Priscilla.
                                                                    19 after Progress Report number 4 dated November 20th,     19     Q So throughout this project, your father was
                                                                    20 2021?                                                   20 intimately involved --
                                                                    21    A   I'm not sure, but if you have  something  I can  21     A Yes.
                                                                    22 look at to review.                                      22     Q -- in all aspects of the project?
                                                                                                                         114                                                             116
                                                                    1     Q That is the last progress report that I see,         1     A Yes.
                                                                    2  so --                                                     2     Q At any point during your father's involvement
                                                                    3     A I don't recall if we have any, no.                   3 with the project, did he ever indicate to you that he
                                                                    4     Q Did Go Pro cease work on the project shortly         4 had email correspondence in regards on behalf of AC&C
                                                                    5 after Progress Report number 4?                            5 during the bid process?
                                                                    6     A Shortly after, so this you mean -- when was          6     A I don't recall that.
                                                                    7  Progress  Report number 4?                                7     Q I want to turn your attention to --
                                                                    8     Q November 20, 2021.                                   8     A Do you have a specific document I can look at?
                                                                    9     A I don't recall exactly when we stopped work,         9     Q I'll get -- I'll come back to it.
                                                                    10 but it was for sure after not receiving payment. So       10 A Sure.
                                                                    11 that was invoiced, so this was sent on -- on November     11 Q Exhibit 8 I had previously produced.
                                                                    12 23rd, we probably gave him time to make payment, they     12 A 8?
                                                                    13 didn't make it.                                           13 Q Yeah, Exhibit 8. If would, compare Exhibit 8
                                                                    14       So what was the date again, sir?                    14 with Exhibit 20.
                                                                    15 Q November 20th, 2021 was the last Progress               15 A Yes.
                                                                    16 Report number 4. My question is --                        16 Q Is this the same information?
                                                                    17 A November 20th, and we sent him the invoice.             17       And I understand the last paragraph is
                                                                    18 No, so I wouldn't -- I wouldn't think we ceased work at   18 different, but everything above the last paragraph on
                                                                    19 that time because we were still working.                  19 Exhibit 20, is that the same information that's provided
                                                                    20 Q In between the submittal of Progress Report             20 in Exhibit 8?
                                                                    21 number 4 --                                               21 A On the last -- say that again. Which one?
                                                                    22 A Yeah.                                                   22 Q Everything in Exhibit 8 is included in Exhibit
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                                                                                                   Transcript of Sameh Elrahimy, Corporate Designee                               30 (117 to 120)

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                                                                                                                             117                                                             119
                                                                    1 20 with the exception of the last paragraph; is that          1      Q That's my question. I'm confused.
                                                                    2 correct?                                                      2         MR. BARNES: Maybe it's three days because it's
                                                                    3     A Yes, it appears to be so.                               3 three days, dated three days after the fact. Maybe it's
                                                                    4     Q And Exhibit 20 is dated December 13th, 2021?            4 a typo.
                                                                    5     A Yes.                                                    5         I think he said he doesn't understand.
                                                                    6     Q I want to turn your attention to that last              6      A Like I generally don't understand.
                                                                    7 paragraph on the second page of Exhibit 20. It says,          7      Q So you don't have an explanation for --
                                                                    8 During the past three months starting December 10th,          8      A No, like explain to me more. I want to, you
                                                                    9 2021, we've tried to come to a resolution to no avail.        9 know, give you the answer but I -- during the past three
                                                                    10       It seems to indicate to me, correct me if I'm          10 months --
                                                                    11 wrong,   that since during the past three months, starting   11        MR. BARNES: I think he's already said that he
                                                                    12 December 10th, that would seem to mean that that             12 didn't draft this, right?
                                                                    13 paragraph was drafted in February of 2022.                   13        MR. GILREATH: Correct.
                                                                    14 A Sorry, say that again.                                     14        MR. BARNES: Okay.
                                                                    15 Q This letter is dated December 13th, 2021.                  15 Q But testifying on behalf of Go Pro, I'm just
                                                                    16 A Yes.                                                       16 trying to see if you have an explanation.
                                                                    17 Q The last paragraph says, During the past three             17        MR. BARNES: Okay.
                                                                    18 months, starting December 10th, 2021. So my question is      18 A I'm just confused. I'm not able to answer
                                                                    19 did this December 13th, 2021 document get revised to         19 that.
                                                                    20 include this last paragraph three months later?              20 Q So if I say during the past four months,
                                                                    21 A I'm not sure I understand. Like is it you're               21 starting four months ago, that would be today, right?
                                                                    22 saying that this got revised, Exhibit 8 got revised to       22 It's saying during the past three months starting
                                                                                                                             118                                                             120
                                                                    1 Exhibit 20 or --                                              1 December 10th. To me, and I think to most people in
                                                                    2     Q I'm saying Exhibit 20 is --                             2 this room, indicates that this was written three months
                                                                    3     A Yes.                                                    3 after December 10th, 2021. Now, it may be a typo --
                                                                    4     Q -- dated December 13, 2021.                             4      A I got you. I understand --
                                                                    5     A Yes.                                                    5      Q -- and say three days starting December 10th,
                                                                    6     Q So that purports that this was prepared on              6 which would make sense for the dates -- the date of the
                                                                    7  December    13th, correct, or at least sent on December      7 documentation. But if this was drafted in February,
                                                                    8 13th --                                                       8 three months after December 10th, I'm asking why
                                                                    9     A Yes.                                                    9 December 13th document got revised three months later to
                                                                    10 Q -- would you agree?                                        10 include a new paragraph?
                                                                    11 A Yes.                                                       11 A I'm not sure, but I'm gonna make an assumption.
                                                                    12 Q But in the last paragraph of the document, it              12 And my father did probably help with this document, and
                                                                    13 says, During the past three months, starting December        13 English is not his first language. So I would say that
                                                                    14 10th.                                                        14 what he meant is that during the last three months, we
                                                                    15 A Okay.                                                      15 tried to come to resolution, but as of December 10th --
                                                                    16 Q Would you agree that implies that three months             16 as of December 10th, there is no resolution.
                                                                    17 has past since December 10th, 2021 as of the writing of      17 Q Okay.
                                                                    18 that paragraph?                                              18 A But I'm not sure. I -- you know, I didn't type
                                                                    19       Focus on the last paragraph.                           19 it.
                                                                    20 A Why would it be past during the past three                 20 Q Maybe we'll discuss it with your father.
                                                                    21 months? Why would -- why would the document be in three      21        Looking at the last sentence, it says, At this
                                                                    22 months prior?                                                22 point, not sure if we should even offer a price for our
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          31 (121 to 124)

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                                                                                                                          121                                                          123
                                                                    1 change order and it's best to return the property to      1     Q We had previously discussed change orders.
                                                                    2 their possession.                                         2     A Yes.
                                                                    3     A Yes.                                                3     Q You said you did not recall if this change
                                                                    4     Q Was this at or around the time that Go Pro          4 order had ever been prepared by Go Pro as it relates to
                                                                    5 ceased work on the project?                               5 the Latvian Embassy project?
                                                                    6     A I don't recall when we ceased work on the -- on     6     A Correct.
                                                                    7 the project, but this document here is not indicating     7     Q Showing you what's been marked as Go Pro number
                                                                    8 that we have ceased work.                                 8 22.
                                                                    9     Q But by saying, And it is best to return the         9        (Go Pro Exhibit 22, Emails Priscilla and
                                                                    10 property within their possession, by returning the       10 Marcis, was marked for identification, and is retained
                                                                    11 property, that would be a stop work, correct?            11 by counsel.)
                                                                    12 A If we returned the property, yes.                      12 Q This is another email thread between Priscilla
                                                                    13 Q Showing you what's been marked as Go Pro number        13 Winters and Marcis Grivins, with yourself and Omar cc'd.
                                                                    14 21.                                                      14 Turning your attention to the first page, Thursday
                                                                    15       (Go Pro Exhibit 21, Email to Marcis, was marked    15 February 10th, 2022.
                                                                    16 for identification, and is retained by counsel.)         16       MR. BARNES: Counsel, could I just have
                                                                    17 Q So this purports to be an email throughout             17 clarification? Is this the first seven pages of what we
                                                                    18 between Priscilla Winters and Marcis Grivins, and it     18 just marked as Exhibit number 21?
                                                                    19 looks like you were cc'd on some of the correspondence   19       MR. GILREATH: It may be. Because there --
                                                                    20 for gpc@goproconstruction.uscc --                        20       MR. BARNES: I think 21 starts on page 8 and
                                                                    21       Who maintains the gpc@goproconstruction.us         21 this one ends on page 7, so this is a continuous thread?
                                                                    22 account?                                                 22       MR. GILREATH: It's not a -- I do not believe
                                                                                                                          122                                                          124
                                                                    1     A The Sameh?                                          1 it's a continuous thread. I think the way it was
                                                                    2     Q The gpc@goproconstruction.us, is that yours?        2 produced via discovery, it may have accidentally gotten
                                                                    3     A Sameh@ -- yeah, that one I'm into.                  3 Bates numbered, but I don't think it was a part of the
                                                                    4     Q Looking at page 13, it's an email from              4 same thread.
                                                                    5 Priscilla Winters, dated Tuesday, January 11th, 2022.     5        MR. BARNES: These were emailed, not Bates
                                                                    6 It says, Dear Marcis, in response to your proposal to     6 numbers. Not the Bates number. In other words --
                                                                    7 have the project continue, Go Pro agrees to the           7        MR. GILREATH: There may be --
                                                                    8 following: 1, Go Pro is willing to restart the work       8        MR. BARNES: In other words, Exhibit number 21
                                                                    9 immediately after the second payment is cleared. Work     9 starts on page 8 of the email, say --
                                                                    10 will continue per plans, specs and the documents.        10       MR. GILREATH: Correct.
                                                                    11       Am I correct in assuming that this means that      11       MR. BARNES: -- page 8. So was this the first
                                                                    12 Go  Pro had ceased work on the project as of January     12 7, this is --
                                                                    13 11th, 2022?                                              13       MR. GILREATH: It may be.
                                                                    14 A Yes. Is that the date of this document,                14       MR. BARNES: -- continuous now --
                                                                    15 January 17th.                                            15       MR. GILREATH: Yeah. Possibly. They're Bates
                                                                    16       So I would say to the best of my knowledge and     16 numbered, and this is the order in which we reviewed
                                                                    17 looking  at this would be January 17th. What date did    17 them. I think the reason they were separated is if you
                                                                    18 you say?                                                 18 look at the top, the way that were forwarded to me. You
                                                                    19 Q The email from Priscilla Winters on page 13 --         19 see at the top where it's got broken down from on both,
                                                                    20 A January 11.                                            20 that's why they were separated because I think they were
                                                                    21 Q -- says January 11th, so --                            21 two documents that may have been combined, and then, the
                                                                    22 A So it would be January 11.                             22 page number Bates at the bottom --
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                           32 (125 to 128)

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                                                                                                                           125                                                          127
                                                                    1        MR. BARNES: This is not to -- this is -- well,       1 their options, they followed up on their request for a
                                                                    2 I don't know. I mean, it looks like it's the same.          2 change --
                                                                    3        MR. GILREATH: It's possible. I -- my client          3      A Oh, I see.
                                                                    4 would be able to testify as to whether it's the same        4      Q -- order, and I'm asking if Go Pro ever
                                                                    5 email thread.                                               5 submitted a change order?
                                                                    6        MR. BARNES: Okay.                                    6      A I don't believe so.
                                                                    7        MR. GILREATH: Just --                                7      Q Turning back to the Contract. It was labeled
                                                                    8     Q Looking at the email, dated February 10th, 2018 8 as Exhibit 7. Turning to page 7 of the Contract,
                                                                    9 from Marcis Grivins to Priscilla -- Priscilla Winters       9 Article 10. Do you see Section 10.1, we discussed this
                                                                    10 with you cc'd, the bottom of that page. It says, Please 10 earlier, where it says, The Owner, without invalidating
                                                                    11 prepare a change order for all work depicted in the        11 the Contract, may order changes in the work within the
                                                                    12 Contract documents that in your view is beyond our         12 general scope of the Contract consisting of additions,
                                                                    13 contractual scope of work. To be clear, by making the 13 deletions or other revisions, and the Contract sum and
                                                                    14 request, we do not agree to pay the change order we        14 Contract time shall be adjusted accordingly in writing?
                                                                    15 propose. We simply need to know the value so that we 15 A Yes.
                                                                    16 can evaluate our options.                                  16 Q It says, If the owner and the contractor cannot
                                                                    17       The followup email on February 23rd --               17 agree to a change in the Contract sum, the owner shall
                                                                    18       MR. BARNES: Where are you reading?                   18 pay the contractor its actual costs plus reasonable
                                                                    19       THE WITNESS: He was reading this.                    19 overhead and profit?
                                                                    20       MR. BARNES: Oh, okay.                                20 A Yes.
                                                                    21       MR.  GILREATH:      Yes. Mine   is a little smaller. 21 Q To the best of your knowledge on behalf of Go
                                                                    22       THE WITNESS: That's --                               22 Pro, Go Pro, despite VNI requesting a change order
                                                                                                                           126                                                          128
                                                                    1         MR. BARNES: And you said it was the bottom of 1 regarding additional work to be done under the Scope of
                                                                    2 the page, in fact, from the top of the second page.      2 Work, never prepared a change order?
                                                                    3      A Yeah.                                             3      A Yeah, I don't recall us sending them a change
                                                                    4         MR. GILREATH: My copy is a little bit smaller. 4 order, but also Marcis, in the same email, he says that,
                                                                    5         MR. BARNES: That's okay.                         5 I'm not going to agree to a change order. So why would
                                                                    6      Q But do you see where it says, Please prepare      6 we send a change order if he's not going to agree to it?
                                                                    7 change order --                                          7 Makes no sense. But yeah, I don't recall us sending a
                                                                    8      A Yes.                                              8 change order.
                                                                    9      Q -- for all work to be completed?                  9         Preparing a change order, it's possible that we
                                                                    10     A Yes.                                              10 prepared something that we didn't send it, but if we're
                                                                    11     Q And then, on the first page, the follow-up        11 in a dispute and he says, Send us document but we're not
                                                                    12 email from Marcis Grivins to Priscilla Winters. It      12 gonna approve it, makes -- to me makes no sense to send
                                                                    13 says, Hello, Priscilla. Have you prepared a previously  13 him document that he's not gonna to approve.
                                                                    14 requested information about the change order? When do 14 Q Is that your interpretation of what Marcis said
                                                                    15 you plan tom submit this information?                   15 on February 10th?
                                                                    16     A Yes.                                              16 A Yes, sir.
                                                                    17     Q Did Go Pro ever respond to this email regarding 17 Q It's at the very top of that page that you're
                                                                    18 the change order?                                       18 on right now.
                                                                    19     A I don't recall, but if you have a specific        19 A He says, Please -- please prepare a change
                                                                    20 document,    I can  look at it.                         20 order for all the work depicted in the Contract
                                                                    21     Q I have not received anything. The reason I ask    21 documents in your view. Beyond your -- it's beyond your
                                                                    22 is because VNI is requesting a change order to evaluate 22 -- to be clear, by making this request, we do not agree
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                          33 (129 to 132)

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                                                                                                                          129                                                          131
                                                                    1 to pay the change order you proposed.                      1         THE COURT REPORTER: We're back on.
                                                                    2        Yeah.                                               2 BY MR. GILREATH:
                                                                    3     Q So you don't think that means they're not            3      Q I'm going to show you what's been marked as Go
                                                                    4 saying guaranteeing we're going to agree to it; you're     4 Pro number 23.
                                                                    5 saying they're guaranteeing that they won't agree to it?   5         (Go Pro Exhibit 23, Termination of Contract
                                                                    6     A Yeah, he saying, We don't agree to pay the           6  Letter, was marked for identification, and is retained
                                                                    7 change order that you're proposed, so whatever change      7 by counsel.)
                                                                    8 order we're proposing, he's saying he's not going to       8      Q Please take a moment to review that document
                                                                    9 agree to it.                                               9 and let me know when you've reviewed it.
                                                                    10       So he said, We simply need to know value so         10     A I'm ready. I'm ready.
                                                                    11 that we  can evaluate our options.                        11     Q Have you seen this document --
                                                                    12 Q Do you have -- did you ever have any                    12     A Yes.
                                                                    13 conversations with anyone at VNI following receipt of     13     Q -- before?
                                                                    14 that email regarding clarity as to the change order?      14        It's my understanding that based on this
                                                                    15 A I'm not sure, but if you have a specific                15 document, notice of termination of the Contract was
                                                                    16 document or email that I can look at --                   16 provided by Go Pro's attorney, Mr. Barnes, to Bret
                                                                    17 Q Because --                                              17 Marfut, previous counsel for VNI in this matter, on
                                                                    18 A -- I can --                                             18 April 29th, 2022, correct?
                                                                    19 Q How I interpret that email -- um --                     19     A Yes.
                                                                    20       MR. BARNES: Objection.                              20     Q And it states that, Termination of Contract is
                                                                    21       MR. GILREATH: That's fine.                          21 effective as of March 23rd, 2022?
                                                                    22 Q How I interpret that email is he's saying,              22     A Yes.
                                                                                                                          130                                                          132
                                                                    1 We're not guaranteeing that we're going to accept it but   1     Q Do you know the significance of the March 23rd,
                                                                    2 we'd like to see it first.                                 2  2022  effective date in this notice?
                                                                    3       Now, I understand we have a difference of            3     A I don't understand the question.
                                                                    4 opinion, but --                                            4     Q So in Mr. Barnes' email, which is dated April
                                                                    5     A The way I look at it is, Hey, give me documents      5 29th, it states, Please treat this letter as our
                                                                    6 to show to my lawyer.                                      6 termination of th Contract effective March 23rd, 2022.
                                                                    7       I do need a small bathroom break really quick.       7       Do you know why -- how March 23rd, 2022 was
                                                                    8     Q That's all right. We can take five minutes.          8 determined to be the effective date of the termination?
                                                                    9       (A brief recess was taken.)                          9     A I don't know.
                                                                    10      THE COURT REPORTER: We're back on the record.        10 Q Other than this email from Mr. Barnes to Mr.
                                                                    11 BY MR. GILREATH:                                          11 Marfut, was any other notice of termination provided to
                                                                    12 Q So there ultimately came a time where the               12 VNI?
                                                                    13 Contract between the parties was terminated, correct?     13 A Not that I recall.
                                                                    14 A Yes.                                                    14 Q This email is dated April 29, 2022. We had
                                                                    15 Q Do you recall when the termination took place?          15 previously discussed when Go Pro had ceased work on the
                                                                    16 A Took place?                                             16 project. I believe we kind of estimated to be on or
                                                                    17 Q Yes. Date?                                              17 before January 11th, 2022. Do you recall that
                                                                    18 A I don't recall the exact date, but if you have          18 conversation?
                                                                    19 a document I can verify.                                  19      I believe there was an email with --
                                                                    20      MR. GILREATH: Can we go off the record for a         20 A Yeah --
                                                                    21 minute?                                                   21 Q -- Priscilla Winters --
                                                                    22      (A discussion was held off the record.)              22 A -- I think we said we ceased work in that
                                                                                                                 PLANET DEPOS
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                        34 (133 to 136)

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                                                                                                                          133                                                       135
                                                                    1 email.                                                    1 of Exhibit 7 under Article 6. Section 6.5 specifically,
                                                                    2     Q We said we -- let me pull that up.                  2 states, Written notice under this agreement may be given
                                                                    3       I believe the exact conversation was, We will       3 by one party to the other by email as set forth below on
                                                                    4 restart work if payment number 2 is received. Something   4 this email address, vnivni.lv, contractor's email,
                                                                    5 along --                                                  5 gpcgoproconstruction.us.
                                                                    6     A Something along these lines, yes. But -- but        6         Do you see that?
                                                                    7 pausing the work, I wouldn't say is the same as ceasing   7      A Yes.
                                                                    8 work.                                                     8      Q Are you aware of whether or not Go Pro provided
                                                                    9     Q So would you agree that you paused work on or       9 any written notice in accordance with the electronic
                                                                    10 before January 11th?                                     10 notice provision of the Contract?
                                                                    11 A I would think so, yes.                                 11     A Would that be it, the one from Rod Barnes?
                                                                    12 Q And that communication with Priscilla Winters          12     Q Does Exhibit 23 indicate that an email was sent
                                                                    13 indicates that work would resume once payment number 2   13 to vni@vni.lv?
                                                                    14 was received?                                            14     A Are you asking if this --
                                                                    15 A Yes.                                                   15     Q Based on your review of that email, does it
                                                                    16 Q Was payment number 2 ever received?                    16 look like that email went to vni@vni.lv, or did it go to
                                                                    17 A No.                                                    17 another individual?
                                                                    18 Q So did Go Pro ever begin work again after              18     A I can't tell from the document.
                                                                    19 January 11th?                                            19     Q But other than that email, no written notice of
                                                                    20 A No.                                                    20 termination was provided to Go Pro to the best of your
                                                                    21 Q Okay.                                                  21 knowledge?
                                                                    22 A Not that I recall.                                     22     A Not that I'm aware of.
                                                                                                                          134                                                       136
                                                                    1     Q Showing you what's been marked as Go Pro number     1         MR. GILREATH: Can we go off the record.
                                                                    2  24.                                                      2         (A discussion was held off the record.)
                                                                    3       (Go Pro Exhibit 24, Email May 25th, 2022, was       3 BY MR. GILREATH:
                                                                    4 marked for identification, and is retained by counsel.)   4       Q I'd like to turn your attention to Go Pro
                                                                    5     Q Do you recognize this document?                     5 number 20. There is an attached Word document titled,
                                                                    6     A Yes.                                                6 Latvian Embassy Completed Work. Do you see that
                                                                    7     Q That document includes the                          7 document?
                                                                    8 gpc@goproconstruction.us email?                           8       A Yes.
                                                                    9     A Yes.                                                9       Q Do you recognize these four pages?
                                                                    10 Q Do you recall if you received a copy of this           10      A Yes.
                                                                    11 via email from VNI?                                      11      Q Do you know who prepared this document?
                                                                    12 A Yes.                                                   12      A My father.
                                                                    13 Q And the document purports to terminate the             13      Q Did you have any involvement with the
                                                                    14 Contract for convenience, correct?                       14 preparation of this document?
                                                                    15 A Yes.                                                   15      A Not that I recall.
                                                                    16 Q And it's dated May 25th, 2022?                         16      Q Do you know when this document was prepared?
                                                                    17 A Yes.                                                   17      A I don't.
                                                                    18 Q I want to turn your attention back to Exhibit          18      Q In reviewing this document, did you identify
                                                                    19 number 7, the Contract. I think it's right under that    19 what individual or individuals completed each aspect as
                                                                    20 email right there, yeah.                                 20 listed? For example, remove debris, can you tell me who
                                                                    21 A This one?                                              21 removed debris for the Latvian Embassy project?
                                                                    22 Q Yeah. I want to turn your attention to page 4          22      A These are Go Pro employees.
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                         35 (137 to 140)

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                                                                                                                            137                                                      139
                                                                    1     Q Okay. Do you know the names of the employees          1 records as it relates to the Latvian Embassy project?
                                                                    2 of Go Pro?                                                  2     A I would have to check, look into that.
                                                                    3     A I don't.                                              3        MR. GILREATH: Counsel, I --
                                                                    4     Q Maintain site, would that be Go Pro employees?        4     A Is that --
                                                                    5     A Yes.                                                  5        MR. GILREATH: -- request copies of the --
                                                                    6     Q Would that also include Optimum?                      6     A   -- yeah, I don't know if the clock-in or outs
                                                                    7     A No, all the laborers work for.                        7 differentiates where they clocked in or out.
                                                                    8     Q So Install temporary handrails, that would be         8        MR. BARNES: Yeah, I'll look for it. My
                                                                    9 Go Pro?                                                     9 recollection is that there is nothing but --
                                                                    10 A Yes.                                                     10       MR. GILREATH: Okay.
                                                                    11 Q Items 4 through 7 under General, would each of           11       MR. BARNES: -- we will make another look at it.
                                                                    12 those -- I guess items 4 through 6, would that be Go       12 Q Turning to the Exterior portion 1, 2, 3 and 4,
                                                                    13 Pro?                                                       13 were those items completed by Go Pro employees?
                                                                    14 A Maybe Optimum.                                           14 A Yes.
                                                                    15 Q In regards to the items 1 through 3, Remove              15 Q All four?
                                                                    16 debris, maintain site, install temporary handrails, you    16 A Yes.
                                                                    17 stated that Go Pro laborers performed that work?           17 Q Did Optimum have any involvement in any of
                                                                    18 A Yes.                                                     18 those four items?
                                                                    19 Q Did Go Pro laborers that worked on those three           19 A Labor? Is that -- you're asking in terms of
                                                                    20 items, did they maintain their time in any way, keep       20 labor or --
                                                                    21 their time, timecards?                                     21 Q In terms of power wash interior.
                                                                    22 A Yeah, they would usually clock in or report the          22 A Okay. In terms of the -- of the labor and the
                                                                                                                            138                                                      140
                                                                    1 hours to Cindy at the office.                               1 construction, no.
                                                                    2     Q How would they quote, unquote, Clock in?              2     Q So Optimum provided no labor --
                                                                    3     A TimeStation with use their phone.                     3     A No laborers --
                                                                    4     Q Is that an app?                                       4     Q -- for this project?
                                                                    5     A Yes. Or -- or if they are working under a crew        5     A -- yeah, no labor for that project.
                                                                    6 leader, he would report their hours.                        6     Q All labor was provided by Go Pro?
                                                                    7     Q Do you know the names of any crew leaders for         7     A By -- that's correct, yes.
                                                                    8 the Latvian Embassy project?                                8     Q Who did Angel Reyes and Gabriel Flores report
                                                                    9     A Angel Reyes, Gabriel Flores.                          9 to?
                                                                    10 Q What was the last name?                                  10 A Go Pro.
                                                                    11 A Flores. F-L-O-R-E-S. That would be to the                11 Q They didn't report in any way to anyone from
                                                                    12 best of my recollection right now.                         12 Optimum?
                                                                    13 Q And are Angel Reyes and Gabriel Flores                   13 A No.
                                                                    14 employees? Were they employees of Go Pro at the time of    14 Q Did they report to your father?
                                                                    15 this Latvian Embassy project?                              15 A When you say report, can you elaborate on that?
                                                                    16 A Yes.                                                     16      If he calls them, they would answer. If he
                                                                    17 Q Were they hourly or salaried employee?                   17 gives them an order, they would, you know.
                                                                    18 A Hourly.                                                  18 Q So your father had authority to instruct Go Pro
                                                                    19 Q So they were paid in part based on the time              19 employees to do some work?
                                                                    20 they spent on the Latvian Embassy project?                 20 A He did but he never did it. It was always
                                                                    21 A Yes.                                                     21 through someone. Either me or someone at the office.
                                                                    22 Q Do you have access to their timesheets or time           22 Q Looking at the Basement, 1 through 6, was that
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                                                                                                    Transcript of Sameh Elrahimy, Corporate Designee                            36 (141 to 144)

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                                                                                                                                 141                                                       143
                                                                    1 work that was all completed by Go Pro laborers?                  1     Q And were these materials purchased by Go Pro?
                                                                    2     A Yes.                                                       2     A Yes.
                                                                    3     Q Did Optimum have any involvement in any of the             3     Q And these would have been purchased from using
                                                                    4 laborers associated with 1 through 6 on the basement?            4 the money in one of the two Capital One accounts?
                                                                    5     A No.                                                        5     A Not necessarily.
                                                                    6     Q First floor, 1 through 15 on the second page.              6     Q How else would they have been purchased?
                                                                    7 Was this all work that was completed by Go Pro laborers?         7     A Some items would go on a company credit card
                                                                    8     A Yes.                                                       8 and --
                                                                    9     Q Did Optimum have any involvement in any of the             9     Q Okay.
                                                                    10 laborers associated with 1 through 15?                          10 A -- after that, the credit card would be paid.
                                                                    11 A No. Mark Armstrong with from Optimum would                    11 Q Do you recall the name of the credit card
                                                                    12 sometime come to the project to manage, but not to -- to        12 company utilized during the Latvian Embassy?
                                                                    13 do construction.                                                13 A American Express. I wouldn't know if that was
                                                                    14 Q When you say manage, oversee the laborers as                  14 used for the Latvian Embassy, but typically we use
                                                                    15 they completed certain work?                                    15 American Express for all our purchases and paid then.
                                                                    16 A Yes.                                                          16 Q So if a credit were -- would have been used, it
                                                                    17 Q The second page, First floor change order work,               17 would have been the American Express credit card?
                                                                    18 1 through 5, was that work that was completed by Go Pro         18 A Yes.
                                                                    19 laborers?                                                       19 Q And then, the balance of the American Express
                                                                    20 A Yes.                                                          20 card would have been paid off from the Capital One --
                                                                    21 Q When it says, Change order work, was that a                   21 the two Capital One accounts?
                                                                    22 change order submitted by Go Pro to VNI or from VNI to          22 A Correct.
                                                                                                                                 142                                                       144
                                                                    1 Go Pro?                                                          1      Q Under General, number 7 on the first page, it
                                                                    2      A I'm not exactly sure, but I would say that this           2 says, No work contracted for the fabrication of wooden
                                                                    3 work was not included in our Scope of Work, but we still         3 elements.
                                                                    4 did it anyways because we were in the middle of the              4         MR. BARNES: Where is that, Counsel?
                                                                    5 joist supports and it had to be done immediately. So             5         MR. GILREATH: The first page under General
                                                                    6 just for the document, it's identified as a change               6 number 7. It says, No work contracted for fabrication
                                                                    7 order, but I do not believe we submitted any change              7 of wooden elements.
                                                                    8 orders to do work at the Latvian Embassy.                        8      Q Do you see that?
                                                                    9      Q On the second floor, items 1 through 11, is               9         MR. BARNES: Okay. Yeah. Bates labeled 253?
                                                                    10 that work that was completed by Go Pro laborers?                10        MR. GILREATH: Yes.
                                                                    11 A Yes.                                                          11     Q Who was the millwork contracted to?
                                                                    12 Q Third floor, 1 through 8, was that work that                  12     A I don't recall that off the top of my head.
                                                                    13 was completed by Go Pro laborers?                               13     Q Would it have been to Optimum or another third
                                                                    14 A Yes.                                                          14 party?
                                                                    15 Q For the items from General on the first page,                 15     A This one, probably, yes, third party.
                                                                    16 through the items listed on the third floor, 1 through          16        Millwork is wood, lumber.
                                                                    17 8, it seems to include the removal and installation of          17     Q Was there a physical written contract relating
                                                                    18 certain materials. Did Go Pro maintain records relating         18 to the millwork?
                                                                    19 to the purchase or acquisition of any of the materials          19     A Not that I recall.
                                                                    20 installed as listed on this document?                           20     Q Did Go Pro ever make any payments related to
                                                                    21 A Yeah, we keep record of all the materials                     21 the millwork that it contracted with third party?
                                                                    22 purchased?                                                      22     A I wouldn't know that either.
                                                                                                                    PLANET DEPOS
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                                                                                                    Transcript of Sameh Elrahimy, Corporate Designee                          37 (145 to 148)

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                                                                                                                              145                                                       147
                                                                    1      Q On the second page, Plaintiff's Document               1      Q Turn to the third page, Plaintiff's Document
                                                                    2 Production 254, the very bottom under Mechanical. It          2 Production 255. Under Electrical, it says, Hired
                                                                    3 says, number 1, Hired mechanical subcontractor. Who was       3 electrical subcontractor. Do you know the name of the
                                                                    4 the subcontractor hired?                                      4 electrical subcontractor hired?
                                                                    5      A That was managed through Optimum Construction,         5      A So that was again managed by Optimum
                                                                    6 so I wouldn't per se know exactly who the subcontractor       6  Construction.     I don't know.
                                                                    7 for this was.                                                 7      Q So you're not aware of whether or not there was
                                                                    8      Q Do you know whether Optimum entered a contract         8 a contract between the electrical subcontractor and
                                                                    9 with this mechanical subcontractor?                           9 Optimum?
                                                                    10 A I don't.                                                   10     A Not -- I'm not aware, no.
                                                                    11 Q Do you know whether Optimum ever paid the                  11     Q You're not aware of whether or not any payments
                                                                    12 mechanical subcontractor?                                    12 were made to the electrical subcontractor?
                                                                    13 A I don't.                                                   13     A Correct.
                                                                    14 Q And you previously stated that you've never                14     Q Do your answers from the mechanical portion
                                                                    15 paid Optimum for any of the work on the project; is that     15 number 3 related to the rough-end materials apply to the
                                                                    16 correct?                                                     16 electrical materials as well?
                                                                    17 A I might have said I don't recall that. I don't             17     A Yes.
                                                                    18 think I said I didn't, but that I did not recall that.       18     Q So a subcontractor would have ordered any of
                                                                    19 Q But any payment to Optimum would likely be                 19 those materials, paid for those materials themselves?
                                                                    20 reflected on one of two bank accounts through Capital        20     A Correct.
                                                                    21 One?                                                         21     Q And you're not aware of whether or not Optimum
                                                                    22 A I believe so.                                              22 recouped those costs by paying the subcontractor?
                                                                                                                              146                                                       148
                                                                    1     Q Number 3, under Mechanical, the very bottom       1     A I'm not aware.
                                                                    2 says, Order associated rough-end materials.             2     Q For plumbing, I'm assuming it's the same
                                                                    3     A Yes.                                              3 answers, but I'll go through it.
                                                                    4     Q What materials does that include?                 4         Hired pluming subcontractor, would that have
                                                                    5     A I'm not sure. But it would probably be HVAC 5 been the subcontractor hired by Optimum?
                                                                    6 material.                                               6     A Correct.
                                                                    7     Q And is that similar to the documentation that     7     Q Are you aware of any contract between Optimum
                                                                    8 you stated may exist as the other items in terms of     8 and the pluming subcontractor?
                                                                    9 maintaining records, keeping receipts, payments for     9     A I'm not.
                                                                    10 those materials either through --                      10    Q Ordered associated rough-end materials, those
                                                                    11    A No, this would be in -- in documents in           11 materials would have been purchased and ordered by the
                                                                    12 Optimum. So Optimum's document, not Go Pro.            12 plumbing subcontractor ?
                                                                    13    Q So Optimum would have ordered the rough-end 13          A Correct.
                                                                    14 materials?                                             14    Q And you're unaware of whether or not Optimum
                                                                    15    A No, so this would probably be through the         15 paid the subcontractor for those materials?
                                                                    16 subcontractor. Would be the one placing the orders? 16       A Correct.
                                                                    17    Q Do you know if the subcontractor paid for these 17      Q Landscaping, hired landscaping contractor
                                                                    18 rough-end materials?                                   18 number 1, same thing; Optimum would have hired the
                                                                    19    A I'm not sure.                                     19 landscaping contractor?
                                                                    20    Q   And  you  never  paid the subcontractor for any 20    A Yes.
                                                                    21 purchases of these materials?                          21    Q Are you aware of any Contract between Optimum
                                                                    22    A Not that I recall.                                22 and the landscaping contractor?
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                           38 (149 to 152)

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                                                                                                                           149                                                         151
                                                                    1     A No.                                                   1 records to see if we have them.
                                                                    2     Q Are you aware of whether Optimum paid the             2        MR. GILREATH: Rod, that's something else I
                                                                    3 landscaping contractor for any work?                        3 would request.
                                                                    4     A No.                                                   4        MR. BARNES: Yeah. I've put an asterisk next to
                                                                    5     Q Under item number 2, it says, Prepared to cut         5 each of these.
                                                                    6 down tree. Do you know what prepared encompasses, what      6        MR. GILREATH: Okay.
                                                                    7 that includes?                                              7        MR. BARNES: Just to double check, I've gone
                                                                    8     A No.                                                   8 through this with --
                                                                    9     Q Number 3, Prepared green area for power washing       9        MR. GILREATH: That's fine.
                                                                    10 and cleaning. Do you know what prepared means in that?     10       MR. BARNES: -- people already, and nothing
                                                                    11 A Prepared here just means get the area ready to           11 turned  up, but I will do it again.
                                                                    12 have the ladders and the power wash and the machines.      12       MR. GILREATH: That's fine. It doesn't exist,
                                                                    13 Q Do you know who would have completed that work?          13 it doesn't exist.
                                                                    14 A This work was done Go Pro employees.                     14 Q Does Go Pro ever destroy any records that it
                                                                    15 Q You said Go Pro employees?                               15 typically keeps in its possession? For example, in this
                                                                    16 A Yes.                                                     16 case, these receipts maybe instead of the time the work
                                                                    17 Q And final cleaning, provided dumpster services           17 was done, is it possible they could have been disposed
                                                                    18 that exceeded 54 dump truck loads.                         18 of in the interim?
                                                                    19       Did Go Pro hire a dumpster service to remove         19 A We typically don't dispose of receipts. Or
                                                                    20 material and debris from the project site or did they --   20 they may have gotten lost, or we just don't have records
                                                                    21 A No.                                                      21 of. The drivers, the didn't turn them in. That's one
                                                                    22 Q -- handle that work themselves?                          22 of the common mistakes that we have. The driver just
                                                                                                                           150                                                         152
                                                                    1     A We handled that work ourselves.                       1 did not turn the receipts in and they lose them.
                                                                    2     Q Was that work handled using Go Pro vehicles?          2     Q Are documents such as receipts, invoices,
                                                                    3     A Yes.                                                  3 things relating to subcontractors in any of these
                                                                    4     Q Do you recall where these dump truck loads            4 expenses that we discussed, are those documents
                                                                    5 dumped the trash, debris, and things that it was            5 maintained at Go Pro's offices?
                                                                    6 removing from the site?                                     6     A They may be on the emails.
                                                                    7     A Could be through D.C. Materials or Shady Grove        7     Q Okay.
                                                                    8 dumping facility. There's also another facility in          8     A We --
                                                                    9 Frederick, Maryland that we use. I do not recall the        9     Q And do you use Outlook as your email service or
                                                                    10 name right now.                                            10 --
                                                                    11 Q Is there any costs associated with dumping               11    A It's .gopro.
                                                                    12 materials in any of those three sites?                     12       I'm so sorry, I have to use the bathroom again.
                                                                    13 A Yes.                                                     13    Q Go for it.
                                                                    14 Q What is the cost?                                        14       MR. GILREATH: Go off the record.
                                                                    15 A It varies by the weight.                                 15       (A brief recess was taken.)
                                                                    16 Q Does Go Pro receive receipts when it dumps at            16 BY MR. GILREATH:
                                                                    17 any of these three facilities?                             17    Q I'm showing you what's been marked as Go Pro
                                                                    18 A Typically, yes.                                          18 number 25.
                                                                    19 Q Does Go Pro have the receipts from the 54 dump           19       (Go Pro Exhibit 25, List of Materials, was
                                                                    20 truck loads that it alleges was involved in this           20 marked  for identification, and is retained by counsel.)
                                                                    21 project?                                                   21    Q Do you recognize this document?
                                                                    22 A I don't recall, but I would have to review my            22    A Yes.
                                                                                                                  PLANET DEPOS
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                            39 (153 to 156)

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                                                                                                                          153                                                           155
                                                                    1     Q Do you know who prepared this document?               1     A Yes.
                                                                    2     A Might have been Mark Armstrong, but I'm not           2     Q Can you explain the difference in the 80,253 as
                                                                    3 exactly sure.                                               3 provided on Exhibit 25 and the 82,053.60 provided on the
                                                                    4     Q And Mark was an employee of Optimum?                  4 LePage Millwork quote?
                                                                    5     A Yes.                                                  5     A No, I can't.
                                                                    6     Q Do you know when this document was prepared?          6     Q I also want to turn to the first page. It
                                                                    7     A I don't.                                              7 says, Creation date 12/5/2021. Do you see that?
                                                                    8     Q And what does this document show?                     8     A Yes.
                                                                    9     A It appears to be a list of lumber material and        9     Q And then, it says, The last revision,
                                                                    10 concrete materials, millwork, tools, pulsators, electric   10 12/10/2021.
                                                                    11 materials.                                                 11 A Yes.
                                                                    12 Q You said Mark Armstrong prepared this?                   12 Q And then, it says, Order date, not ordered. Do
                                                                    13 A I said maybe, but I'm not sure. These are Mark           13 you see that?
                                                                    14 or (inaudible) or maybe Priscilla.                         14 A Yes.
                                                                    15 Q Were the materials listed on this document               15 Q So you stated you're not sure whether or not
                                                                    16 actually purchased for the Latvian Embassy project?        16 these windows from LePage Millwork were actually
                                                                    17 A I believe so, yes.                                       17 purchased?
                                                                    18 Q And were they purchased by Go Pro or by                  18 A Correct, yes.
                                                                    19 Optimum?                                                   19 Q Did Go Pro request this quote from LePage
                                                                    20 A That I do not recall.                                    20 Millwork, or did Optimum?
                                                                    21       MR. BARNES: You want to go off the record?           21 A Optimum. This would be TW Perry, yes.
                                                                    22       MR. GILREATH: Sure. We'll go off the record.         22 Q Are you aware of whether or not any special
                                                                                                                          154                                                           156
                                                                    1         (A discussion was held off the record.)             1 windows from LePage Millwork were ever delivered to the
                                                                    2 BY MR. GILREATH:                                            2 project site?
                                                                    3      Q And these were costs actually incurred for the       3     A No.
                                                                    4 project, you said?                                          4     Q Turning your attention back to Exhibit 25. Did
                                                                    5      A Yes.                                                 5 Go Pro maintain any receipts related to the purchase of
                                                                    6      Q I want to turn your attention to the very last       6 any of these materials listed on these two pages?
                                                                    7 line item on the last page. It says, LePage Millwork        7     A I'm unsure right now.
                                                                    8 special order windows for a total of $80,253. Do you        8     Q You stated you were unaware of whether these
                                                                    9 see that?                                                   9 materials were purchased by Go Pro or Optimum?
                                                                    10     A Yes.                                                 10 A Correct.
                                                                    11     Q Were these special order windows from LePage         11 Q I'm going to show you who what's been marked as
                                                                    12 Millwork actually purchased?                               12 Go Pro number 27.
                                                                    13     A I'm not sure.                                        13      (Go Pro Exhibit 27, Value of Work Completed,
                                                                    14     Q I'm going to show you what's been marked as Go       14 was marked for identification, and is retained by
                                                                    15 Pro number 26.                                             15 counsel.)
                                                                    16        (Go Pro Exhibit 26, Quotation, was marked for       16 Q Have you seen this document before?
                                                                    17 identification, and is retained by counsel.)               17 A Yes.
                                                                    18     Q This was produced by Go Pro in its document          18 Q Who prepared this document?
                                                                    19 production. It's a quotation from LePage Millwork, and     19 A Say my father was the office.
                                                                    20 if you look at the final page, it notes a net total of     20 Q It states, Completed work value per reports 1
                                                                    21 $82,053.60.                                                21 through 4, and then, underneath it says, 55 percent
                                                                    22        Do you see that?                                    22 equaling $632,500. Do you see that?
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                            40 (157 to 160)

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                                                                                                                         157                                                            159
                                                                    1       A Yes.                                             1      Q I want to turn to page 4 of Answer to
                                                                    2       Q Do you know how the calculation of 55 percent 2 Interrogatory Number 3. Take some time just to review
                                                                    3 was determined?                                          3 your answer and let me know when you've reviewed it.
                                                                    4       A My father knows this calculation. I don't.       4      A Yes.
                                                                    5       Q So any information pertaining to the values in   5      Q So this Answer to Interrogatory Number 3
                                                                    6  this document should   be directed to Raouf  Elrahimy?  6  states, quote, Plaintiff states that this project was
                                                                    7       A Yes.                                             7 verbally discussed months prior to the bidding process
                                                                    8       Q Where it says, Materials and tools/equipment     8 start. Embassy officials contacted Go Pro and one of
                                                                    9 confiscated by the Embassy totaling $140,294.84, do you 9 its partners/affiliate companies, AC&C, to discuss their
                                                                    10 know whether that reflects the amount as stated in      10 project.
                                                                    11 Exhibit 25?                                             11        Do you recall who participated in these verbal
                                                                    12      A Looks to be as the same, same amount.            12 discussions?
                                                                    13      Q Other than this document, are you aware of any 13 A I don't.
                                                                    14 other documentation created by Go Pro regarding the     14 Q Were you involved in these verbal discussions?
                                                                    15 value of the work completed on the Latvian Embassy      15 A I don't recall being involved.
                                                                    16 project?                                                16 Q Do you recall whether your father was involved
                                                                    17      A I'm not.                                         17 in these discussions?
                                                                    18      Q I'm going to turn your attention to Go Pro's     18 A Yeah, most likely he was involved.
                                                                    19 Answer to the Counterclaim filed by VNI in this matter. 19 Q Do you have any knowledge of who participated
                                                                    20 It's been marked as Go Pro number 28.                   20 in any of these conversations on behalf of VNI?
                                                                    21        (Go Pro Exhibit 28, Answer to Counterclaim, was 21 A On behalf of VNI, it was -- I think it was
                                                                    22 marked for identification, and is retained by counsel.) 22 Reinhart and -- is that his name, Reinhart (phonetic)?
                                                                                                                         158                                                            160
                                                                    1     Q I want to turn your attention to page 3 at te       1      Q Rihards.
                                                                    2  very bottom. It states, In accordance with the           2      A Rihards. And Marcus.
                                                                    3 expressed provisions within this -- the agreement,        3      Q Later in your Answer, it says, Go Pro priced
                                                                    4 Plaintiff replaced the handrails with handrails of like   4 the revised scope of work the Embassy provided per
                                                                    5 kind.                                                     5 Embassy officials' request.
                                                                    6        Do you see that?                                   6        Do you recall how Go Pro priced the revised
                                                                    7     A   Yes.                                              7  scope  of work?
                                                                    8     Q You previously testified that the handrails         8      A We did a site visit, me and my father, and met
                                                                    9 were not, in fact, replaced; is that correct?             9 with the Embassy representative, and we saw all the
                                                                    10 A Correct, yes.                                          10 scope of work, and we were able to price the work needed
                                                                    11 Q I'm now showing you what's been marked as Go           11 based on that site visit.
                                                                    12 Pro number 29.                                           12 Q And you stated you have not located any
                                                                    13       (Go Pro Exhibit 29, Answers to Interrogatories,    13 documentation regarding this pricing of the revised
                                                                    14 was marked for identification, and is retained by        14 scope of work?
                                                                    15 counsel.)                                                15 A Pricing, sometime we can come up with the
                                                                    16 Q These are Go Pro's Answers to Interrogatories          16 pricing without calculating.
                                                                    17 propounded by VNI. Have you seen this document before?   17 Q Do you recall whether that took place here or
                                                                    18 A Yes.                                                   18 are you referring from calculating a cost?
                                                                    19 Q Turning to the second-to-last page, page number        19 A I don't believe we did calculation.
                                                                    20 10. Is this your signature verifying the Answers to      20 Q Turning to page 8 of the Answers to
                                                                    21 Interrogatories?                                         21 Interrogatories. It says, The following subcontractors
                                                                    22 A Yes.                                                   22 were staged to perform work on the project: J.H. Silcox
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                                                                                                 Transcript of Sameh Elrahimy, Corporate Designee                            41 (161 to 164)

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                                                                                                                          161                                                           163
                                                                    1 Engineering and Drafting, Dayton Electrical Contracting,   1      Q As for the materials supplied by Home Depot,
                                                                    2 Inc., 416 Mechanical Plumbing, and Powerlift Dumbwaiters   2 was that purchased by Go Pro or Optimum?
                                                                    3 Corporation.                                               3      A I -- it's hard to tell also. Either Go Pro or
                                                                    4        Did you provide this information for the            4 Optimum.
                                                                    5 Answers to Interrogatories?                                5      Q What about the equipment and materials supplied
                                                                    6     A Yes.                                                 6  by  Lowe's?
                                                                    7     Q It states, however, that only Optimum                7      A Same answer, I don't know.
                                                                    8 Construction performed work on the project; is that        8      Q Okay. And the exterior power wash and
                                                                    9 correct?                                                   9 materials from Rentals Unlimited, was that --
                                                                    10 A Where is that?                                          10     A Yeah, same answer, I don't recall.
                                                                    11 Q The second sentence of Answer to Interrogatory          11     Q As it relates to Go Pro, you have not been able
                                                                    12 number 18.                                                12 to locate any receipts relating to any equipment or
                                                                    13 A Yes.                                                    13 materials supplied by any four of those --
                                                                    14 Q It also states that the following suppliers are         14     A That is correct --
                                                                    15 expected to supply equipment materials for the project:   15     Q -- entities?
                                                                    16 TW Perry/LePage Millwork, Home Depot, Lowe's, and         16     A -- yeah.
                                                                    17 equipment from Rental -- Rentals Unlimited. Do you see    17     Q Were there ever any payments issued to the
                                                                    18 that?                                                     18 subcontractors listed in number 2, by Go Pro?
                                                                    19 A Yes.                                                    19     A I know J Silcox was paid, but I'm not sure if
                                                                    20 Q Were there any supplies, equipment, and                 20 the others.
                                                                    21 materials that were ultimately purchased and/or rented    21     Q What was J.H. Silcox paid for?
                                                                    22 from any of those suppliers as listed in the Answer to    22     A Engineering evaluation services.
                                                                                                                          162                                                           164
                                                                    1 Interrogatory number 18?                                   1     Q Do you recall how much they were paid?
                                                                    2     A Yes.                                                 2     A I don't.
                                                                    3     Q And from which of those suppliers it was?            3     Q Do you recall who paid them?
                                                                    4     A TW Perry, Home Depot, Lowe's, Rental Unlimited.      4     A I want to say Go Pro. Yeah, I'd have to double
                                                                    5     Q So what was supplied by TW Perry/LePage              5 check my records.
                                                                    6 Millwork?                                                  6     Q I believe I previously marked as Exhibit -- Go
                                                                    7     A I don't recall that.                                 7  Pro  Exhibit number 10 Go Pro's Responses to Production
                                                                    8     Q Do you recall what was supplied by Home Depot?       8 of Documents.
                                                                    9     A No, I don't.                                         9     A Yes.
                                                                    10 Q Do you recall what was supplied by Lowe's?              10 Q I'm going to turn your attention to Request
                                                                    11 A I don't.                                                11 number 25 on page 6. It states, All documents that
                                                                    12 Q Do you recall what equipment was supplied by            12 constitute referral relate or pertains to the number of
                                                                    13 Rentals Unlimited?                                        13 man hours extended by you in the calculations of the
                                                                    14 A I don't, but I believe it was pertaining to the         14 average monthly man hours necessary for the construction
                                                                    15 exterior power washing and --                             15 of the project.
                                                                    16       TW Perry, most likely lumber and materials.         16       You previously stated that Go Pro laborers
                                                                    17    Q   For TW Perry/LePage Millwork, was that lumber      17 maintain their time through TimeStation or provided it
                                                                    18 material purchased by Go Pro?                             18 to one of the crew leaders; is that correct?
                                                                    19 A Yes.                                                    19 A Yes.
                                                                    20 Q And the materials --                                    20 Q In scheduling Go Pro laborers to participate in
                                                                    21 A Actually, I take that back. It was either by            21 the project, were there any work schedules prepared by
                                                                    22 Go Pro or Optimum. I don't recall.                        22 Go Pro as it relates to assigning laborers certain days,
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                                                                                                   Transcript of Sameh Elrahimy, Corporate Designee                       42 (165 to 168)

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                                                                                                                            165                                                     167
                                                                    1 certain hours on the project?                               1       Q Do you have any idea how many laborers per day
                                                                    2      A Can you rephrase that question.                      2 were typically at the Latvian Embassy project?
                                                                    3      Q Did Go Pro prepare work schedules for their          3       A I wasn't involved in the day-to-day operation,
                                                                    4 laborers so they knew when to show up to the site, how      4 but say maybe ten.
                                                                    5 long they were --                                           5       Q Ten?
                                                                    6      A Yes.                                                 6        In request number 26, it says, All documents
                                                                    7      Q -- expected to work?                                 7 that constitute, refer, relate or pertain to your
                                                                    8         And how were those prepared? Were they              8 payroll journals for the project.
                                                                    9 monthly, weekly?                                            9        Does Go Pro maintain payroll information for
                                                                    10 A Weekly.                                                  10 its employees?
                                                                    11 Q And who were they prepared by?                           11      A Yes.
                                                                    12 A For that specific project, it would be a                 12      Q Did Go Pro maintain payroll information the
                                                                    13 combination. Me, Mr. Raouf, my father, and Paul Duenas.    13 time of the Latvian Embassy project?
                                                                    14 Q Are you aware if Go Pro has retained the Work            14      A I'm not sure.
                                                                    15 Schedule prepared as it relates to the Latvian Embassy     15      Q How does Go Pro maintain its payroll
                                                                    16 project?                                                   16 information?
                                                                    17 A Sorry?                                                   17      A With the accountant.
                                                                    18 Q Are you aware of whether or not Go Pro has               18      Q Through the accountant?
                                                                    19 retained copies of the work schedules that were prepared   19      A Yes.
                                                                    20 for the Latvian Embassy project?                           20      Q Have you requested any information sought in
                                                                    21 A I don't think we have records of that.                   21 these document requests from the accountant --
                                                                    22 Q You previously stated that the actual timecards          22      A No.
                                                                                                                            166                                                     168
                                                                    1 or time entries for laborers, you're unaware if you have    1     Q -- to date?
                                                                    2 access to that information as well, correct?                2        Has Go Pro ever paid Optimum Construction to
                                                                    3      A I don't think I said that. I said when you           3 assist on any of its construction-related projects?
                                                                    4 asked me if I have access to TimeStation, I said yes, I     4     A Not that I recall.
                                                                    5 have.                                                       5     Q Are you aware that Optimum Construction
                                                                    6      Q So you have the ability to go back into              6 recently has filed for bankruptcy?
                                                                    7  TimeStation   to see if you can --                         7     A Yes.
                                                                    8      A I don't know how far back it goes. I don't           8     Q Is Go Pro listed as either a creditor or debtor
                                                                    9 think it goes back that.                                    9 in Optimum Construction's bankruptcy filing?
                                                                    10        MR. BARNES: I think he also said he wasn't sure     10 A I believe so, yes.
                                                                    11 if it would have been allocated by the project.            11 Q Is it listed as a creditor?
                                                                    12        MR. GILREATH: By the project.                       12 A Yes. Creditor means I'm asking them for money?
                                                                    13        THE WITNESS: Yeah.                                  13 Q Correct.
                                                                    14 Q Did laborers vary from project to project                14 A Yeah.
                                                                    15 during a project? For example, while the Latvian           15 Q What does Optimum Construction owe to Go Pro?
                                                                    16 Embassy project was going on, would a laborer one day be   16 A Sorry?
                                                                    17 at the Latvian Embassy and the next day go to another      17 Q What amount of money does Optimum owe to Go
                                                                    18 project before coming back to the Latvian Embassy          18 Pro?
                                                                    19 project?                                                   19 A I'd have to look through my records.
                                                                    20 A Typically, the same crew would be working. We            20 Q Does Optimum owe Go Pro any money as it relates
                                                                    21 may increase the labor as needed, or decrease it           21 to the Latvian Embassy project?
                                                                    22 depending on that day specific amount of work.             22 A I'd have to -- probably, yes, but I would have
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                                                                                                    Transcript of Sameh Elrahimy, Corporate Designee                         43 (169 to 172)

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                                                                                                                              169                                                       171
                                                                    1 to check.                                                     1         THE COURT REPORTER: Off the record?
                                                                    2     Q And do you know what Optimum would owe Go Pro           2         MR. GILREATH: Yes.
                                                                    3 as it relates to pertaining to what services Optimum          3         (A brief recess was taken.)
                                                                    4 would owe money to Go Pro as it relates to the Latvian        4 BY MR. GILREATH:
                                                                    5 Embassy project?                                              5      Q Couple questions for you, Mr. Elrahimy.
                                                                    6     A Probably a lot of money, but I'm not sure exact         6         Earlier today, a response was filed to a motion
                                                                    7 amount.                                                       7 to compel that was filed by VNI couple weeks ago. And
                                                                    8     Q Did Go Pro provide Optimum any services as it           8 in that response, it indicates that there was labor
                                                                    9 relates to the Latvian Embassy project?                       9 provided by Go Pro or borrowed labor.
                                                                    10 A What do you mean?                                          10     A Or?
                                                                    11 Q Well, you stated that they may -- you may be a             11     Q Or borrow -- quote, unquote, Borrowed labor
                                                                    12 creditor to Optimum, meaning Optimum owes you money.         12 provided to Go Pro.
                                                                    13 Typically, money is paid for services provided, so if        13        Earlier in your deposition, you stated that all
                                                                    14 they owe you money, what do they owe you money for?          14 the laborers were Go Pro employees. Is that correct, or
                                                                    15 A For the Latvian Embassy?                                   15 were laborers provided by a third party including
                                                                    16 Q Yes.                                                       16 Optimum?
                                                                    17 A Did I say they owe me money for the Latvian                17     A Most of the labor was provided by Go Pro, I
                                                                    18 Embassy or for was -- because your question was about        18 believe. If there was labor provided by a third party,
                                                                    19 the bankruptcy, and then, if I'm listed as a creditor.       19 I don't recall that.
                                                                    20 Q Correct.                                                   20     Q Am I correct in the conclusion that the only
                                                                    21 A And but I don't think I said --                            21 services provided by Optimum related to project manager
                                                                    22 Q And then, I asked specifically for the Latvian             22 services overseeing the laborers' work?
                                                                                                                              170                                                       172
                                                                    1 Embassy --                                                    1      A To some extent, yes.
                                                                    2       A For the Latvian Embassy?                              2      Q But as far as actual work completed on the
                                                                    3       Q -- if they owe you money, you said yes. But if        3 project itself, that labor was completed by Go Pro?
                                                                    4 that's incorrect, please.                                     4      A I believe so, yes.
                                                                    5       A Yeah, I don't think they owe me money for the         5      Q Following termination of the agreement, did Go
                                                                    6 Latvian Embassy, but in general, yes.                         6 Pro make any attempts to retrieve any of the equipment
                                                                    7       Q Does Go Pro owe Optimum money as it relates to        7 and tools that it had left on the job site?
                                                                    8 the Latvian Embassy project?                                  8      A I believe we requested from the Embassy to
                                                                    9       A I would have to review my records, but I think        9 retrieve our tools and equipment, yes.
                                                                    10 so, yes.                                                     10     Q Do you know when ultimately Go Pro made the
                                                                    11         We work off of a ledger between Optimum and Go       11 decision to leave the job site? Was it at the same time
                                                                    12 Pro,   and sometimes it could also go for Optimum as Omar    12 that they stopped working in January of 2022?
                                                                    13 is my brother, so sometime we would pay back by doing        13     A I don't recall exact dates.
                                                                    14 other jobs. Like I would help him with a job, he would       14     Q Has Go Pro estimated the value of the materials
                                                                    15 help me with mine.                                           15 or tools left at the job site?
                                                                    16 Q Is Go Pro listed as a debtor in the bankruptcy             16     A Yes.
                                                                    17 filing, which indicates that Optimum is owed money by Go     17     Q And would that be the document that we
                                                                    18 Pro?                                                         18 previously discussed which was approximately $140,000?
                                                                    19 A I'm not sure about that.                                   19     A Yes.
                                                                    20         MR. GILREATH: Just give me one minute. I'm           20     Q Of those materials or tools, were any of those
                                                                    21 going to review my notes, but that may be everything         21 materials or tools utilized in the demolition stage of
                                                                    22 that I have today.                                           22 the project?
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                                                                                                  Transcript of Sameh Elrahimy, Corporate Designee                            44 (173 to 176)

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                                                                                                                          173                                                            175
                                                                    1      A Probably.                                            1 introducing it as an exhibit, but --
                                                                    2      Q Would specifics on that be better directed           2         MR. BARNES: Okay.
                                                                    3 towards your father, Raouf?                                 3         MR. GILREATH: -- this is a report that was
                                                                    4      A Say that question again, the first question.         4 produced with our expert disclosure.
                                                                    5      Q So in reviewing -- I believe it was Exhibit 25,      5         MR. BARNES: Okay. Your question about --
                                                                    6  the two-page valuation request materials and equipment     6         MR. GILREATH: I was going to ask Mr. Elrahimy
                                                                    7 from the site.                                              7 to look through the photographs there.
                                                                    8      A Yeah.                                                8         MR. BARNES: Oh. Okay.
                                                                    9      Q Would it make more sense for us to go through        9      Q My question is was this the state of the
                                                                    10 this list line-by-line to determine what was utilized in   10 project site when Go Pro left the site?
                                                                    11 the demolition stage?                                      11     A It appears to be, yes.
                                                                    12         Would you be able to provide that information      12     Q Would you agree in reviewing the photographs
                                                                    13 or should I direct that information to Raouf?              13 that the LVL boards on the second and third floors have
                                                                    14     A I would say the framing material was used on         14 not yet been installed?
                                                                    15 the site, all the synthesizer, all the tools that were     15     A Might be. I'm not sure.
                                                                    16 on the list, all that was used on site.                    16     Q I believe that is all I have for you today, Mr.
                                                                    17     Q So all of the lumber here was utilized in front      17 Elrahimy. I appreciate your time.
                                                                    18 of me?                                                     18        I will note there's been discussion of
                                                                    19     A I wouldn't say all of it, but some of it.            19 possibility that some documents exist. I understand
                                                                    20     Q Some of the materials were for future work to        20 there was a thorough review process. Likely, no
                                                                    21 be completed on the project; is that correct?              21 additional documents exist. But if additional documents
                                                                    22     A I don't recall that.                                 22 do exist and are produced, I'm going to reserve the
                                                                                                                          174                                                            176
                                                                    1      Q For example, I believe there were LVL boards         1 right to reopen the deposition. Which may mean we're
                                                                    2 that were not installed. Were those boards eventually       2 back together to discuss any additional documentation,
                                                                    3 going to be utilized in installing the flooring on the      3 but if not, I appreciate your time.
                                                                    4 second and third floors?                                    4    A Thank you. Appreciate it.
                                                                    5      A I'd have to review my record because I believe       5       MR. BARNES: We will read and sign.
                                                                    6 the LDLs were already installed.                            6       Thank you.
                                                                    7           But yes, the lumber material that is on site      7       THE COURT REPORTER: And just to make sure,
                                                                    8 would be used for that project.                             8 ordering and ordering?
                                                                    9      Q I understand you haven't seen this report            9       MR. GILREATH: Yeah, I'll do a electronic mini.
                                                                    10 before, so I'll give you a little bit of time to look      10      THE COURT REPORTER: Mini.
                                                                    11 through it. But there are photographs in here from a       11      MR. BARNES: The same.
                                                                    12 site inspection that was conducted during the course of    12      THE COURT REPORTER: Okay.
                                                                    13 this litigation.                                           13      (Off the record at 2:44 p.m.)
                                                                    14          This is marked as Go Pro number 30. It is the     14
                                                                    15 expert report drafted by Neil Sinclair, and designated     15
                                                                    16 as an expert on behalf of VNI.                             16
                                                                    17          (Go Pro Exhibit 30, Expert Report, was marked     17
                                                                    18 for identification, and is retained by counsel.)           18
                                                                    19     Q Beginning on page 30 of this report, I don't         19
                                                                    20 know     if you want to flip through --                    20
                                                                    21          MR. BARNES: Do you have an extra copy?            21
                                                                    22          MR. GILREATH: I do. I wasn't planning on          22
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                                                                                                    Transcript of Sameh Elrahimy, Corporate Designee   45 (177 to 180)

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                                                                                                                                177
                                                                    1         CERTIFICATE OF COURT REPORTER - NOTARY PUBLIC
                                                                    2       I, Bri Slack, the officer before whom the
                                                                    3  foregoing  deposition was taken, do hereby certify that
                                                                    4 said proceedings were electronically recorded by me; and
                                                                    5 that I am neither counsel for, related to, nor employed
                                                                    6 by any of the parties to this case and have no interest,
                                                                    7 financial or otherwise, in its outcome.
                                                                    8
                                                                    9       IN WITNESS WHEREOF, I have hereunto set my hand
                                                                    10 and affixed my notarial seal this 6th day of July, 2023.
                                                                    11
                                                                    12 ________________________________
                                                                    13 Bri Slack, Notary Public
                                                                    14 for the State of Maryland
                                                                    15
                                                                    16
                                                                    17
                                                                    18
                                                                    19
                                                                    20
                                                                    21
                                                                    22




                                                                                                                               178
                                                                    1              CERTIFICATE OF TRANSCRIBER
                                                                    2       I, Jerome E. Harris, do hereby certify that
                                                                    3 the foregoing transcript is a true and correct record
                                                                    4 of the recorded deposition; that said proceedings were
                                                                    5 transcribed to the best of my ability from the audio
                                                                    6 recording and supporting information; and that I am
                                                                    7 neither counsel for, related to, nor employed by any
                                                                    8 of the parties to this case and have no interest,
                                                                    9 financial or otherwise, in its outcome.
                                                                    10
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                                                                    13
                                                                    14 _____________________________
                                                                    15 Jerome E. Harris
                                                                    16 July 10, 2023
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